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 14   her official capacity as Acting Director of the
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 15
                        IN THE UNITED STATES DISTRICT COURT
 16
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 17

 18

 19   MATTHEW JONES, et al.,                      3:19-cv-01226-L-AHG
 20
                                     Plaintiffs, DECLARATION OF LOUIS
 21                                              KLAREVAS
                   v.
 22                                               Dept:         5B
 23                                               Judge:        The Honorable M. James
      ROB BONTA, in his official capacity
                                                                Lorenz and Magistrate
 24   as Attorney General of the State of
                                                                Judge Alison H. Goddard
      California, et al.,
 25                                                Action
                                   Defendants.     Filed:       July 1, 2019
 26

 27

 28


                        Declaration of Louis Klarevas (3:19-cv-01226-L-AHG)
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  1                         DECLARATION OF LOUIS KLAREVAS
  2   I, Louis Klarevas, declare:
  3         1.      I am a security policy analyst and, currently, Research Professor at
  4   Teachers College, Columbia University, in New York. I am also the author of the
  5   book Rampage Nation, one of the most comprehensive studies on gun massacres in
  6   the United States.1
  7         2.      I have been asked by the Office of the Attorney General for the State
  8   of California to prepare an expert declaration addressing the relationship between
  9   mass shooting violence and shooter age. I have also been asked to review and
 10   prepare rebuttals to the declarations submitted by Plaintiffs’ experts John Lott and
 11   Thomas B. Marvell.
 12         3.      I am being compensated at a rate of $480/hour for my work on this
 13   declaration, $600/hour for any testimony (including deposition testimony) in
 14   connection with this matter, and $120/hour for travel required to provide testimony.
 15         4.      This expert declaration is based on my own personal knowledge and
 16   experience, and, if I am called as a witness, I could and would testify competently
 17   to the truth of the matters discussed in this declaration.
 18                          PROFESSIONAL QUALIFICATIONS
 19         5.      I am a political scientist by training, with a B.A. from the University of
 20   Pennsylvania and a Ph.D. from American University. My current research
 21   examines the nexus between American public safety and gun violence, including
 22   serving as an investigator in a study funded by the National Institutes of Health that
 23   is focused on reducing intentional shootings at elementary and secondary schools.
 24         6.      During the course of my nearly 25-year career as an academic, I have
 25   served on the faculties of George Washington University, the City University of
 26
 27         1
                Louis Klarevas, Rampage Nation: Securing America from Mass Shootings
 28   (2016).
                                                   1
                        Declaration of Louis Klarevas (3:19-cv-01226-L-AHG)
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  1   New York, New York University, and the University of Massachusetts. I have also
  2   served as Defense Analysis Research Fellow at the London School of Economics
  3   and Political Science and as United States Senior Fulbright Scholar in Security
  4   Studies at the University of Macedonia.
  5         7.     In addition to having made well over 100 media and public-speaking
  6   appearances, I am the author or co-author of more than 20 scholarly articles and
  7   over 70 commentary pieces. In 2019, my peer-reviewed article on the effectiveness
  8   of restrictions on large-capacity magazines (LCMs) in reducing high-fatality mass
  9   shootings resulting in six or more victims killed was published in the American
 10   Journal of Public Health.2 This study found that jurisdictions with LCM bans
 11   experienced substantially lower gun massacre incidence and fatality rates when
 12   compared to jurisdictions not subject to similar bans. Despite being over 3 years
 13   old now, this study continues to be one of the highest impact studies in all of
 14   academia. It was recently referred to as “the perfect gun policy study,” in part due
 15   to the study’s “robustness and quality.”3
 16

 17

 18

 19         2
               Louis Klarevas, et al., The Effect of Large-Capacity Magazine Bans on
 20   High-Fatality Mass Shootings, 109 American Journal of Public Health 1754 (2019),
      available at https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311
 21   (last accessed December 27, 2022).
            3
 22            Lori Ann Post and Maryann Mason, The Perfect Gun Policy Study in a Not
 23
      So Perfect Storm, 112 American Journal of Public Health 1707 (2022), available at
      https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2022.307120 (last
 24   accessed December 27, 2022). According to Post and Mason, “Klarevas et al.
 25
      employed a sophisticated modeling and research design that was more rigorous than
      designs used in observational studies. Also, they illustrated the analytic steps they
 26   took to rule out alternative interpretations and triangulate their findings, for
 27
      example examining both state bans and federal bans. They helped build the
      foundation for future studies while overcoming the limitations of previous
 28   research.” Ibid.
                                                   2
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  1            8.     In the past four years (since January 1, 2019), I have been deposed,
  2   testified in court, or testified by declaration in the following cases (all in federal
  3   court), listed alphabetically by state:
  4

  5       California – Central District
          Rupp v. Bonta                                              8:17-cv-00746-JLS-JDE
  6
          California – Southern District
  7       Duncan v. Bonta                                              17-cv-1017-BEN-JLB
  8       Jones v. Bonta (present case)                                 19-cv-01226-L-AHG
          Miller v. Bonta                                            3:19-cv-1537-BEN-JBS
  9
          Nguyen v. Bonta                                        3:20-cv-02470-WQH-MDD
 10       Connecticut
 11       National Ass’n. for Gun Rights v. Lamont                       3:22-cv-01118-JBA
          Hawaii
 12
          National Ass’n for Gun Rights v. Lopez                      1:22-cv-404-DKW-RT
 13       Illinois – Northern District
 14       Viramontes v. Cook County                                              1:21-cv-04595
          National Ass’n. for Gun Rights v. Highland Park                          22-cv-04774
 15
          Herrera v. Raoul                                                       1:23-cv-00532
 16       Illinois – Southern District
 17       Harrel v. Raoul*                                                      23-cv-141-SPM
          Langley v. Kelly*                                                     23-cv-192-SPM
 18
          Barnett v. Raoul*                                                     23-cv-209-SPM
 19       Federal Firearms Licensees of Illinois v. Pritzker*                   23-cv-215-SPM
 20       Massachusetts
          National Ass’n for Gun Rights v. Campbell                      1:22-cv-11431-FDS
 21
          Oregon
 22       Oregon Firearms Federation v. Kotek†                             2:22-cv-01815-IM
 23       Fitz v. Rosenblum†                                               3:22-cv-01859-IM
          Eyre v. Rosenblum†                                               3:22-cv-01862-IM
 24
          Azzopardi v. Rosenblum†                                          3:22-cv-01869-IM
 25       Washington – Eastern District
 26       Brumback v. Ferguson                                          1:22-cv-03093-MKD
      *
 27    Non-Consolidated Cases on the Same Briefing Schedule
      †
 28       Consolidated Cases
                                                     3
                          Declaration of Louis Klarevas (3:19-cv-01226-L-AHG)
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  1         9.     In 2021, I was retained by the Government of Canada in the following
  2   cases which involved challenges to Canada’s regulation of certain categories of
  3   firearms: Parker and K.K.S. Tactical Supplies Ltd. v. Attorney General of Canada,
  4   Federal Court, Court File No.: T-569-20; Canadian Coalition for Firearm Rights, et
  5   al. v. Attorney General of Canada, Federal Court, Court File No.: T-577-20;
  6   Hipwell v. Attorney General of Canada, Federal Court, Court File No.: T-581-20;
  7   Doherty, et al. v. Attorney General of Canada, Federal Court, Court File No.: T-
  8   677-20; Generoux, et al. v. Attorney General of Canada, Federal Court, Court File
  9   No.: T-735-20; and Eichenberg, et al. v. Attorney General of Canada, Federal
 10   Court, Court File No.: T-905-20. I testified under oath in a consolidated court
 11   proceeding involving all six cases in the Federal Court of Canada.
 12         10.    A true and correct copy of my current curriculum vitae is attached as
 13   Exhibit A to this declaration.
 14                                       OPINIONS
 15         11.    It is my professional opinion, based on my review and analysis of mass
 16   shooting data, that (1) double-digit-fatality mass shootings are post-World War II
 17   phenomena, usually involving long guns, particularly semi-automatic centerfire
 18   rifles; (2) mass shootings are a growing threat to American public safety; (3) as a
 19   percentage of the U.S. population, 18-20 year-olds are over-represented in mass
 20   shooting violence; and (4) 18-20-year old mass shooters have a preference for long
 21   guns, especially semi-automatic centerfire rifles, which tend to be legally owned by
 22   the shooters or their family members. Based on these findings, it is my opinion that
 23   firearm purchasing restrictions on 18-20-year-olds have the potential to reduce
 24   mass shooting violence.
 25

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  1   I.   DOUBLE-DIGIT-FATALITY MASS SHOOTINGS ARE POST-WORLD WAR
  2        II PHENOMENA, USUALLY INVOLVING LONG GUNS, PARTICULARLY
           SEMI-AUTOMATIC CENTERFIRE RIFLES
  3
            12.    An examination of the historical occurrence and distribution of mass
  4
      shootings resulting in 10 or more victims killed in the United States since 1776
  5
      (Table 1 and Figure 1) uncovered several informative findings.4 In terms of the
  6
      origins of this form of extreme gun violence, there is no known occurrence of a
  7
      mass shooting resulting in double-digit fatalities at any point in time during the
  8
      173-year period between the nation’s founding in 1776 and 1948. The first known
  9
      mass shooting resulting in 10 or more deaths occurred in 1949. In other words, for
 10
      70% of its 247-year existence as a nation, the United States did not experience a
 11
      mass shooting resulting in double-digit fatalities, making such acts of gun violence
 12
      a relatively modern phenomena in American history.5
 13
            13.    After the first such incident in 1949, 17 years passed until a similar
 14
      mass shooting occurred in 1966. The third such mass shooting then occurred 9
 15
      years later, in 1975. And the fourth such incident occurred 7 years after, in 1982.
 16
      Basically, the first few mass shootings resulting in 10 or more deaths did not occur
 17
      until the post-World War II era. Furthermore, these first few double-digit-fatality
 18
      incidents occurred with relative infrequency, although the temporal gap between
 19
      these first four incidents shrank with each event (Table 1 and Figure 1).
 20
 21
            4
               I searched for firearm-related “murders,” using variations of the term,
 22   setting a minimum fatality threshold of 10 in the Newspaper Archive online
 23   newspaper repository, available at https://www.newspaperarchive.com (last
      accessed October 2, 2022). The Newspaper Archive contains local and major
 24   metropolitan newspapers dating back to 1607. Incidents of large-scale, inter-group
 25   violence such as mob violence, rioting, combat or battle skirmishes, and attacks
      initiated by authorities acting in their official capacity were excluded.
 26
            5
               Using the Constitution’s effective date of 1789 as the starting point would
 27   lead to the conclusion that, for 68% of its 234-year existence as a nation, the United
 28   States did not experience a mass shooting resulting in double-digit fatalities.
                                                   5
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  1    Table 1. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History,
  2                                   1776-20226

  3                                                                      Involved
                                                            Involved    Semi-Auto      Involved
  4                                                           Long      Centerfire    18-20-Year-
               Date           Location            Deaths      Gun          Rifle      Old Shooter
  5     1     9/6/1949      Camden, NE              13         N            N              N
  6     2     8/1/1966       Austin, TX             14         Y            Y              N
        3    3/30/1975     Hamilton, OH             11         N            N              N
  7     4    9/25/1982   Wilkes-Barre, PA           13         Y            Y              N
        5    2/18/1983      Seattle, WA             13         N            N              Y
  8
        6    4/15/1984     Brooklyn, NY             10         N            N              N
  9     7    7/18/1984    San Ysidro, CA            21         Y            N              N
        8    8/20/1986      Edmond, OK              14         N            N              N
 10
        9   10/16/1991      Killeen, TX             23         N            N              N
 11    10    4/20/1999      Littleton, CO           13         Y            Y              Y
       11    4/16/2007    Blacksburg, VA            32         N            N              N
 12    12    3/10/2009  Geneva County, AL           10         Y            Y              N
 13    13     4/3/2009    Binghamton, NY            13         N            N              N
       14    11/5/2009     Fort Hood, TX            13         N            N              N
 14    15    7/20/2012       Aurora, CO             12         Y            Y              N
       16   12/14/2012     Newtown, CT              27         Y            Y              Y
 15          9/16/2013    Washington, DC            12         Y            N              N
       17
 16    18    12/2/2015  San Bernardino, CA          14         Y            Y              N
       19    6/12/2016      Orlando, FL             49         Y            Y              N
 17    20    10/1/2017     Las Vegas, NV            60         Y            Y              N
 18    21    11/5/2017 Sutherland Springs, TX       25         Y            Y              N
       22    2/14/2018      Parkland, FL            17         Y            Y              Y
 19    23    5/18/2018      Santa Fe, TX            10         Y            N              N
       24   10/27/2018     Pittsburgh, PA           11         Y            Y              N
 20    25    11/7/2018  Thousand Oaks, CA           12         N            N              N
 21    26    5/31/2019  Virginia Beach, VA          12         N            N              N
       27     8/3/2019      El Paso, TX             23         Y            Y              N
 22    28    3/22/2021      Boulder, CO             10         Y            Y              N
       29    5/14/2022      Buffalo, NY             10         Y            Y              Y
 23    30    5/24/2022       Uvalde, TX             21         Y            Y              Y
 24

 25

 26
 27
             6
 28              Death tolls do not include the perpetrators.
                                                      6
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  1        Figure 1. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History,
  2                                       1776-20227
                                       i\fass S hootinos Resultino in Double-Dioit Fatalities in American History (1 776-2022)
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  9          0
                 1776          1801    1825          1850         1875          1899          1924          1949         1973           1998      2022
                                                                                Year

 10

 11                     14.       The distribution of double-digit-fatality mass shootings changes in the
 12   early 1980s, when five such events took place in a span of just five years (Table 1
 13   and Figure 1). But this cluster of incidents was followed by a 20-year period in
 14   which only 2 double-digit-fatality mass shootings occurred (Figure 1). This period
 15   of time from 1987-2007 correlates with three important federal firearms measures:
 16   the 1986 Firearm Owners Protection Act, the 1989 C.F.R. “sporting use”
 17   importation restrictions, and the 1994 Federal Assault Weapons Ban.
 18                     15.       It is well-documented in the academic literature that, after the Federal
 19   Assault Weapons Ban expired in 2004, mass shooting violence increased
 20   substantially.8 Mass shootings that resulted in 10 or more deaths were no
 21
                        7
                            Figure 1 is reproduced in larger form as Exhibit B of this declaration.
 22                     8
               See, for example, Louis Klarevas, supra note 1; Louis Klarevas, et al.,
 23   supra note 2; Charles DiMaggio, et al., Changes in US Mass Shooting Deaths
 24   Associated with the 1994-2004 Federal Assault Weapons Ban: Analysis of Open-
      Source Data, 86 Journal of Trauma and Acute Care Surgery 11 (2019), available at
 25   https://journals.lww.com/jtrauma/Abstract/2019/01000/Changes_in_US_mass_shoo
 26   ting_deaths_associated_with.2.aspx (last accessed March 15, 2023); Lori Post, et
      al., Impact of Firearm Surveillance on Gun Control Policy: Regression
 27   Discontinuity Analysis, 7 JMIR Public Health and Surveillance (2021), available at
 28                                                                         (continued…)
                                                                 7
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  1   exception, following the same pattern. In the 56 years from 1949 through 2004,
  2   there were a total of 10 mass shootings resulting in double-digit fatalities (a
  3   frequency rate of one incident every 5.6 years). In the 18 years since 2004, there
  4   have been 20 double-digit-fatality mass shootings (a frequency rate of one incident
  5   every 0.9 years). In other words, the frequency rate has increased over six-fold
  6   since the Federal Assault Weapons Ban expired (Table 1 and Figure 1).
  7         16.    Out of the mass shootings resulting in 10 or more deaths, 63% (19 out
  8   of 30 incidents) involved long guns, with 84% of these incidents (16 out of 19
  9   incidents) involving semi-automatic centerfire rifles (Table 1). Of particular
 10   relevance to the present case, 6 out of the 30 double-digit-fatality mass shootings in
 11   American history were perpetrated by a shooter who was 18-20-years-old at the
 12   time of the attack. In other words, while historically accounting for approximately
 13   4% of the post-World War II population in the United States, 18-20-year-olds have
 14   been involved in perpetrating 20% of the mass shootings resulting in 10 or more
 15   deaths—a roughly five-fold over-representation (Table 1).9 Similarly, the double-
 16   digit-fatality mass shootings that involved perpetrators between the ages of 18 and
 17   20 also account for 19% of all deaths resulting from such extreme acts of gun
 18   violence (101 out of 538 total deaths)—again a nearly five-fold over-representation
 19   given that this age group has only represented approximately 4% of the population
 20
 21

 22   https://publichealth.jmir.org/2021/4/e26042 (last accessed March 15, 2023); and
      Philip J. Cook and John J. Donohue, Regulating Assault Weapons and Large-
 23   Capacity Magazines for Ammunition, 328 JAMA, September 27, 2022, available at
 24   https://jamanetwork.com/journals/jama/article-abstract/2796675 (last accessed
      March 15, 2023).
 25          9
               According to census data from 1950, 1960, 1970, 1980, 1990, 2000, 2010,
 26   and 2020, 18-20-year-olds accounted for a mean average of 4.3% of the U.S.
      population in the post-World War II (up to the present era). Singe-year-of-age
 27   population data is published by the U.S. Census Bureau every decade, available at
 28   https://www.census.gov/library/publications.html (last accessed March 13, 2023).
                                                   8
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  1   of the United States in the post-World War II era (Table 1). This indicates that this
  2   age group is particularly capable of inflicting mass-casualty carnage with firearms.
  3   II.   MASS SHOOTINGS ARE A GROWING THREAT TO AMERICAN PUBLIC
  4         SAFETY
  5          17.   Examining mass-casualty acts of violence in the United States in the
  6   last 25 years points to two disturbing patterns.10 First, as demonstrated in Table 2,
  7   the deadliest individual acts of intentional criminal violence in the United States
  8   since the coordinated terrorist attack of September 11, 2001, have all been mass
  9   shootings. Second, as displayed in Figures 2-3, the problem of mass public
 10   shooting violence is on the rise. To put the increase since 1998 into perspective, in
 11   the last 25 years, the average population of the United States increased
 12   approximately 17%.11 However, when the number of people killed in mass public
 13   shootings from 1998-2002 is compared to the number killed in such incidents from
 14          10
               Because Plaintiffs’ expert John Lott begins his analysis of mass shootings
 15   with calendar year 1998, for purposes of consistency (and to avoid any confusion),
      the analyses in Sections II-IV of this declaration also use data from 1998 onward.
 16   Moreover, similar to Lott, all analyses herein use a data set of mass public
 17   shootings maintained by Lott’s organization, the Crime Prevention Research Center
      (CPRC). For purposes of this declaration, mass public shootings are defined as
 18   incidents, within a 24-hour period, resulting in 4 or more people shot to death, not
 19   including the perpetrator(s), in a public location as part of an attack that is not
      undertaken in relation to an underlying crime. This definition is consistent with the
 20   definition of mass public shootings used by Lott. However, unlike Lott (whose
 21   declaration was executed on September 15, 2019, and not subsequently updated), I
      extend the analyses in this declaration through the end of 2022. The CPRC data set
 22   on mass public shootings since 1998 is accessible from the organization’s website,
 23   available at https://crimeresearch.org/wp-content/uploads/2023/01/Mass-Public-
      Shootings_Jan.-1-1998-to-Jan.26-2023.xlsx (last accessed March 13, 2023).
 24
             11
               The increase was calculated using the total annual populations from 1998-
 25   2002 and comparing it to the total annual populations from 2018-2022. The
 26   increase between these two five-year time periods is 17.2%. Annual population
      estimates are from the U.S. Census Bureau, available at
 27   https://www.census.gov/programs-surveys/popest/data/data-sets.html (last accessed
 28   March 13, 2023).
                                                   9
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  1   2018-2022, it reflects an increase of 222%. In other words, the rise in mass
  2   shooting violence has far outpaced the rise in national population—by a factor of
  3   13. The obvious takeaway from these patterns and trends is that mass shootings
  4   pose a significant—and growing—threat to American public safety.
  5

  6         Table 2. The Deadliest Acts of Intentional Criminal Violence in the U.S.
  7             since the Coordinated Terrorist Attack of September 11, 200112
  8
                Deaths              Date                     Location                Type of Violence
  9     1         60           October 1, 2017            Las Vegas, NV               Mass Shooting
        2         49            June 12, 2016              Orlando, FL                Mass Shooting
 10     3         32            April 16, 2007           Blacksburg, VA               Mass Shooting
 11     4         27          December 14, 2012           Newtown, CT                 Mass Shooting
        5         25          November 5, 2017        Sutherland Springs, TX          Mass Shooting
 12     6         23           August 3, 2019              El Paso, TX                Mass Shooting
        7         21            May 24, 2022               Uvalde, TX                 Mass Shooting
 13

 14     Figure 2. Annual Number of Mass Public Shooting Incidents, 1998-202213
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 24             12
               Source: CPRC, https://crimeresearch.org/wp-
 25   content/uploads/2023/01/Mass-Public-Shootings_Jan.-1-1998-to-Jan.26-2023.xlsx
      (last accessed March 13, 2023). Erroneous fatality counts have been corrected.
 26
                13
               Source: CPRC, https://crimeresearch.org/wp-
 27   content/uploads/2023/01/Mass-Public-Shootings_Jan.-1-1998-to-Jan.26-2023.xlsx
 28   (last accessed March 13, 2023). Erroneous fatality counts have been corrected.
                                                         10
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  1       Figure 3. Annual Number of Mass Public Shooting Deaths, 1998-202214
  2
          100
  3        90
           80
  4        70
           60
  5

  6
           50
           40
                                                                              .. ····· ..
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 11   III. AS A PERCENTAGE OF THE U.S. POPULATION, 18-20-YEAR-OLDS ARE
 12
           OVER-REPRESENTED IN MASS SHOOTING VIOLENCE

 13         18.    As noted above in Section I, the 18-20 age demographic only accounts
 14   for about 4% of the U.S. population. However, it accounts for a far larger
 15   percentage of double-digit-fatality mass shooting incidents and deaths. The same
 16   holds for mass public shootings perpetrated in the United States in the last quarter
 17   century. As shown in Tables 3 and 4 below, in contrast to the comparator groups of
 18   11-17-year-old mass public shooters as well as 21-66-year-old mass public
 19   shooters, 18-20-year-old mass public shooters are drastically over-represented, and
 20   substantially more so than older mass public shooters, who are also over-
 21   represented.15 (In contrast, 11-17-year-olds are under-represented.) This holds
 22   whether the metric is the share of mass public shootings that they commit or the
 23   share of mass public shooting deaths attributable to their attacks. The share of
 24         14
               Source: CPRC, https://crimeresearch.org/wp-
 25   content/uploads/2023/01/Mass-Public-Shootings_Jan.-1-1998-to-Jan.26-2023.xlsx
      (last accessed March 13, 2023). Erroneous fatality counts have been corrected.
 26
            15
               The age parameters for the two comparator groups were determined by the
 27   youngest and oldest mass public shooter in the CPRC data set (1998-2022),
 28   respectively, 11 and 66 years of age.
                                                  11
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  1   18-20-year-old mass public shooters is 150% larger than the share of the population
  2   for that age demographic. Similarly, the share of deaths attributable to 18-20-year-
  3   old mass public shooters is 238% larger than the share of the population for that age
  4   demographic. Furthermore, the average death toll per mass public shooting for
  5   attacks perpetrated by 18-20-year-olds (11.4 deaths on average) is 107% larger than
  6   the average death toll per incident associated with 11-17-year-olds (5.5 deaths on
  7   average) and 37% larger than the average death toll per incident associated with 21-
  8   66-year-olds (8.3 deaths on average).16 These patterns clearly demonstrate that age
  9   is an important factor in terms of the incidence and lethality of mass public
 10   shootings.
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               The average death toll per mass public shooting for attacks perpetrated by
 27   21-66-year-olds (8.3 deaths on average) is 51% larger than the average death toll
 28   per incident associated with 11-17-year-olds (5.5 deaths on average).
                                                  12
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  1                Table 3. Mass Public Shooters by Age Group, 1998-202217
  2
                                 Table 3a. Mass Public Shooters Aged 11-17
  3
            Year   Month   Day             State                  City           Deaths   Age of Shooter
  4     1   1998       3    24   Arkansas          Jonesboro                        2.5               11
        2   1998       3    24   Arkansas          Jonesboro                        2.5               13
  5
        3   2014      10    24   Washington        Marysville                        4                15
  6     4   2021      11    30   Michigan          Oxford                            4                15
        5   2005       3    21   Minnesota         Red Lake                          9                16
  7
        6   2018       5    18   Texas             Santa Fe                         10                17
  8     7   1999       4    20   Colorado          Columbine                        6.5               17

  9                                                Total Deaths                    38.5
 10                                                Average Deaths Per Incident      5.5

 11                              Table 3b. Mass Public Shooters Aged 18-20
 12         Year   Month   Day             State                  City           Deaths   Age of Shooter
        1   1999       4    20   Colorado          Columbine                        6.5               18
 13
        2   2007       2    12   Utah              Salt Lake City                    5                18
 14     3   2022       5    14   New York          Buffalo                          10                18
        4   2022       5    24   Texas             Uvalde                           21                18
 15
        5   2007      12     5   Nebraska          Omaha                             8                19
 16     6   2018       2    14   Florida           Parkland                         17                19
        7   2021       4    15   Indiana           Indianapolis                      8                19
 17     8   2007      10     7   Wisconsin         Crandon                           6                20
 18     9   2012      12    14   Connecticut       Newtown                          27                20
       10   2016       9    23   Washington        Burlington                        5                20
 19

 20                                                Total Deaths                   113.5
                                                   Average Deaths Per Incident     11.4
 21
             17
              Source: CPRC, https://crimeresearch.org/wp-
 22   content/uploads/2023/01/Mass-Public-Shootings_Jan.-1-1998-to-Jan.26-2023.xlsx.
 23          Note: The age parameters for the two comparator groups were determined by
 24   the youngest and oldest mass public shooter in the CPRC data set (1998-2022),
      respectively, 11 and 66 years of age. For purposes of calculating the average deaths
 25   per incident for each age grouping, deaths were equally divided between the
 26   shooters in the three incidents that involved two perpetrators (Jonesboro 1998,
      Columbine 1999, and San Bernadino 2015). Two revisions were made to the
 27   original data: (1) misspellings, erroneous locations, and erroneous death tolls were
 28   corrected; and (2) an incident that occurred in Puerto Rico was removed.
                                                     13
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  1                              Table 3c. Mass Public Shooters Aged 21-66
  2         Year   Month   Day              State                     City       Deaths   Age of Shooter
        1   2004       7     2   Kansas                 Kansas City                  5                21
  3
        2   2015       6    17   South Carolina         Charleston                   9                21
  4     3   2019       1    23   Florida                Sebring                      5                21
        4   2019       8     3   Texas                  El Paso                     23                21
  5
        5   2021       3    16   Georgia                Atlanta                      8                21
  6     6   2021       3    22   Colorado               Boulder                     10                21
        7   2022       7     4   Illinois               Highland Park                7                21
  7     8   2011       1     8   Arizona                Tucson                       6                22
  8     9   2021      10    21   Washington             Tacoma                       4                22
       10   2022      11    19   Colorado               Colorado Springs             5                22
  9    11   1999       6     3   Nevada                 Las Vegas                    4                23

 10    12   2003       2    25   Alabama                Huntsville                   4                23
       13   2007       4    16   Virginia               Blacksburg                  32                23
 11    14   2012       7    20   Colorado               Aurora                      12                24
       15   2015       7    16   Tennessee              Chattanooga                  5                24
 12
       16   2019       8     4   Ohio                   Dayton                       9                24
 13    17   2004      12     8   Ohio                   Columbus                     4                25
       18   2006       5    21   Louisiana              Baton Rouge                  5                25
 14
       19   2008       6    25   Kentucky               Henderson                    5                25
 15    20   2016       7     7   Texas                  Dallas                       5                25
       21   2015      10     1   Oregon                 Roseburg                     9                26
 16
       22   2017       1     6   Florida                Fort Lauderdale              5                26
 17    23   2017      11     5   Texas                  Sutherland Springs          25                26
       24   2008       2    14   Illinois               DeKalb                       5                27
 18
       25   2006       3    24   Washington             Seattle                      6                28
 19    26   2018       1    28   Pennsylvania           Melcroft                     4                28
       27   2018      11     7   California             Thousand Oaks               12                28
 20    28   2015      12     2   California             San Bernardino               7                28
 21    29   2015      12     2   California             San Bernardino               7                29
       30   2016       6    12   Florida                Orlando                     49                29
 22    31   2018       4    22   Tennessee              Antioch                      4                29

 23    32   2008       3    18   California             Santa Maria                  4                31
       33   2020       3    15   Missouri               Springfield                  4                31
 24    34   2022      11    22   Virginia               Chesapeake                   6                31
       35   2011       9     6   Nevada                 Carson City                  4                32
 25
       36   2006      10     2   Pennsylvania           Nickel Mines                 5                33
 26    37   2010       8     3   Connecticut            Manchester                   8                34
       38   2013       9    16   District of Columbia   Washington                  12                34
 27
       39   1998       3     7   Connecticut            Newington                    4                35
 28    40   1999      12    30   Florida                Tampa                        5                36
                                                     14
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  1    41   2003   8     27    Illinois         Chicago                        6             36

  2    42   2004   11    21    Wisconsin        Birchwood                      6             36
       43   2012   9     27    Minnesota        Minneapolis                    6             36
  3    44   2009   11    29    Washington       Parkland                       4             37
       45   2010   6       6   Florida          Hialeah                        4             37
  4
       46   2018   6     28    Maryland         Annapolis                      5             38
  5    47   2021   9     12    Minnesota        St. Paul                       4             38
       48   2009   11      5   Texas            Fort Hood                      13            39
  6
       49   2022   2     28    California       Arden-Arcade                   4             39
  7    50   1999   11      2   Hawaii           Honolulu                       7             40
       51   2012   5     30    Washington       Seattle                        5             40
  8
       52   2012   8       5   Wisconsin        Oak Creek                      6             40
  9    53   2019   5     31    Virginia         Virginia Beach                 12            40
       54   2009   4       3   New York         Binghamton                     13            41
 10
       55   2011   10    12    California       Seal Beach                     8             41
 11    56   2000   12    26    Massachusetts    Wakefield                      7             42
       57   2012   4       2   California       Oakland                        7             43
 12    58   1999   7     29    Georgia          Atlanta                        9             44
 13    59   2006   1     30    California       Goleta                         7             44
       60   2014   2     20    California       Alturas                        4             44
 14    61   2021   3     31    California       Orange                         4             44

 15    62   2005   3     12    Wisconsin        Brookfield                     7             45
       63   2009   3     29    North Carolina   Carthage                       8             45
 16    64   2016   2     20    Michigan         Kalamazoo                      6             45
       65   2017   6       5   Florida          Orlando                        5             45
 17
       66   2019   2     15    Illinois         Aurora                         5             45
 18    67   2022   6       1   Oklahoma         Tulsa                          4             45
       68   2018   10    27    Pennsylvania     Pittsburgh                     11            46
 19
       69   1999   9     15    Texas            Fort Worth                     7             47
 20    70   2003   7       8   Mississippi      Meridian                       6             48
       71   2020   2     26    Wisconsin        Milwaukee                      5             51
 21
       72   2008   2       7   Missouri         Kirkwood                       6             52
 22    73   2003   10    24    Idaho            Oldtown                        4             53
       74   2002   3     22    Indiana          South Bend                     4             54
 23
       75   2021   5     26    California       San Jose                       9             57
 24    76   2012   2     20    Georgia          Norcross                       4             59
       77   2017   10      1   Nevada           Las Vegas                      60            64
 25    78   2001   2       5   Illinois         Melrose Park                   4             66
 26
                                                Total Deaths                  650
 27                                             Average Deaths Per Incident   8.3

 28
                                                  15
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  1   Table 4. Share of Mass Public Shooting Perpetrators and Deaths Attributable
  2   to Mass Public Shooting Perpetrators, Sorted by Age Groups and Compared
                  to Share of Population for Age Groups, 1998–202218
  3
                                                           Percentage                          Percentage
  4                  Share of U.S.     Share of Mass       Differential    Share of Mass       Differential
                       Population     Public Shooting   Given Share of    Public Shooting   Given Share of
  5                   (2000-2020)       Perpetrators       Population              Deaths      Population
       11-17                 9.6%               7.4%             -23%                4.8%            -50%
  6    18-20                 4.2%              10.5%            +150%               14.2%           +238%
       21-66                59.6%              82.1%             +38%               81.0%            +36%
  7

  8   IV. 18-20-YEAR-OLD MASS SHOOTERS HAVE A PREFERENCE FOR LONG
  9       GUNS, ESPECIALLY SEMI-AUTOMATIC CENTERFIRE RIFLES, WHICH
          TEND TO BE LEGALLY OWNED BY THE SHOOTERS OR THEIR FAMILY
 10       MEMBERS
 11            19.     As discussed above in Section III, the 18-20 age demographic
 12   perpetrates mass public shootings at a rate that is disproportionately larger than the
 13   rates associated with the 11-17-year-old and 21-66-year-old comparator groups.
 14   Moreover, as shown in Table 5 below, 18-20-year-old mass public shooters display
 15   a preference for long guns, particularly semiautomatic, centerfire rifles—the
 16   category of long guns regulated under SB 61. In fact, every mass public shooting
 17   perpetrated by an 18-20-year-old involved a long gun.
 18            20.     As shown in Table 5 below, of the 10 individuals aged 18-20 who
 19   perpetrated a mass public shooting in the last 25 years, only two purchased a
 20   firearm in violation of aged-based purchasing restrictions, and those purchases were
 21

 22            18
               Source: Data on mass public shooting perpetrators, incidents, and deaths
 23   are drawn from Table 3. Data on U.S. population are drawn from U.S. Census
      Bureau, Population and Housing Unit Estimates, available at
 24   https://www.census.gov/programs-surveys/popest.html.
 25         Note: The age parameters for the two comparator groups were determined by
 26   the youngest and oldest mass public shooter in the CPRC data set (1998-2022),
      respectively, 11 and 66 years of age. People under age 11 and over age 66 are
 27   excluded from the share of U.S. population percentages. Minus signs ( - ) represent
 28   a percentage decrease. Plus signs ( + ) represent a percentage increase.
                                                       16
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  1   made when the gunmen were 17 years old.19 The remaining 8 mass public shooters
  2   legally purchased their firearms, took their firearms from home, or used a firearm
  3   provided by their employer. Since 1998, there are no examples of a mass public
  4   shooter, aged 18-20 at the time that they acquired their firearm(s), purchasing said
  5   firearm(s) in violation of state age restrictions. That mass public shooters of this
  6   age demographic generally do not purchase their firearms in violation of age
  7   restrictions on 18-20-year-olds is prima facie evidence that they do not resort to
  8   underground markets to acquire weapons. In turn, it appears that aged-based
  9   purchase laws have the potential to effectively restrict specific firearms in the
 10   numerous jurisdictions where they are in force.
 11         21.    All of the above suggest that firearm purchasing restrictions on 18-20-
 12   year-olds have the potential to reduce mass shooting violence.
 13

 14

 15

 16         19
                In both incidents—the 1999 Columbine high school massacre in Colorado
 17   and the 2007 Trolley Square Mall rampage in Utah—the law failed to prevent the
 18   illegal purchases, but it did allow authorities to prosecute the individuals who sold
      the firearms in violation of state law. See Julie Cart, Man Pleads Guilty to Selling
 19   Gun to Columbine Killers, Los Angeles Times, August 19, 1999, available at
 20   https://www.latimes.com/archives/la-xpm-1999-aug-19-mn-1611-story.html (last
      accessed March 15, 2023); Man Pleads Guilty to 2 Felony Charges for Helping
 21   Columbine Shooters Get Gun, Los Angeles Times, May 9, 2000, available at
 22   https://www.latimes.com/archives/la-xpm-2000-may-09-mn-28068-story.html (last
      accessed March 15, 2023); Russ Rizzo, A Guilty Plea in the Trolley Gun Deal, Salt
 23   Lake Tribune, October 26, 2007, available at
 24   https://archive.sltrib.com/article.php?id=7285671&itype=NGPSID (last accessed
      March 15, 2023); Nate Carlisle, Trolley Square: Gun Seller Sorry, But Shooting
 25   Deaths “Not My Fault,” Salt Lake Tribune, January 25, 2008, available at
 26   https://archive.sltrib.com/article.php?id=8073128&itype=NGPSID (last accessed
      March 15, 2023); Man Linked to Mall Shootings Handgun Going to Prison, KSL,
 27   May 22, 2008, available at https://www.ksl.com/article/3363775/man-linked-to-
 28   mall-shootings-handgun-going-to-prison (last accessed March 15, 2023).
                                                  17
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  1                  Table 5. Mass Public Shooters Aged 18-20, 1998–202220
  2                                                                          State
                                                                             Restricted
  3                                                                          18-20-
                                                                             Year-Olds
  4                                                                          from
                                                                  Semi-      Buying
  5                                                               Auto       Type of
                                                                  Center-    Gun(s)
  6                                                     Type of   Fire       Used at
                                              Age of    Guns      Rifle(s)   Time of      How Guns Were
  7         Date         Location             Shooter   Used      Used       Shooting     Acquired
        1   4/20/1999    Columbine, CO          18      HG/LG        Yes         No       Illegally Purchased*
  8     2   2/12/2007    Salt Lake City, UT     18      HG/LG        No          No       Illegally Purchased*
        3   10/7/2007    Crandon, WI            20        LG         Yes         No       Provided by Employer
  9     4   12/5/2007    Omaha, NE              19        LG         Yes         No       Taken from Home
        5   12/14/2012   Newtown, CT            20        LG         Yes         No       Taken from Home
 10     6   9/23/2016    Burlington, WA         20        LG         No          No       Taken from Home
        7   2/14/2018    Parkland, FL           19        LG         Yes         No       Legally Purchased
 11     8   4/15/2021    Indianapolis, IN       19        LG         Yes         No       Legally Purchased
        9   5/14/2022    Buffalo, NY            18        LG         Yes         No       Legally Purchased
 12    10   5/24/2022    Uvalde, TX             18        LG         Yes         No       Legally Purchased

 13
      Note: HG = Handgun. LG = Long Gun.
 14   * One of the firearms purchased by Columbine High School shooter Eric Harris
 15   was an assault pistol (category: handgun). Similarly, one the firearms purchased by
 16   Trolley Square Mall shooter Sulejman Talovic was a revolver (category: handgun).
 17   Both handguns were purchased in private transactions (i.e., not involving a
 18   federally-licensed firearms dealer) when Harris and Talovic were 17 years of age.
 19   At the time, both Colorado and Utah restricted the sale of handguns to individuals
 20   under the age of 18, making the sale of each handgun illegal under state law.
 21   However, neither Colorado nor Utah restricted private sales of handguns to
 22   individuals 18 years of age or older. For this reason, the Columbine and Trolley
 23   Square incidents are still coded as illegal purchases even though Colorado and Utah
 24   are both states that do not restrict firearm sales to individuals ages 18 to 20.
 25

 26          20
              Source: CPRC, https://crimeresearch.org/wp-
 27   content/uploads/2023/01/Mass-Public-Shootings_Jan.-1-1998-to-Jan.26-2023.xlsx.
 28
                                                     18
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  1   V.   REBUTTAL TO DECLARATION OF JOHN LOTT
  2         22.      In his expert declaration, which is devoted primarily to addressing
  3   mass shootings, John Lott (hereinafter “Lott”) concludes that “no credible evidence
  4   exists to support the proposition that raising the age to purchase or acquire a firearm
  5   will make any difference in curtailing such mass shootings.”21 Lott bases this
  6   conclusion on four claims: (1) “criminals do not buy their firearms legally”; (2)
  7   “even if all sources for obtaining firearms were closed off to people 18-20 years of
  8   age, it is unlikely that such laws would stop the vast majority of criminals in that
  9   age group from acquiring guns”; (3) “age is not a significant factor in mass public
 10   shootings”; and (4) “comparisons to crime statistics are skewed.”22 Lott also
 11   devotes several pages discussing what he refers to as “unsupported justifications for
 12   the age-based gun ban.”23 Each of these topics will be addressed in turn.24
 13         23.      I should note at the outset that Lott has been accused of violating
 14   academic integrity standards by engaging in “research fraud.”25 He also has a long
 15   history of employing questionable and faulty practices to advance arguments
 16   against firearms regulations, resulting in accusations that his gun violence research
 17

 18         21
               Declaration of John Lott in Support of Plaintiffs’ Motion for Preliminary
 19   Injunction, Jones v. Bonta, Case No. 19-cv-01226-L-AHG (S.D. Cal. Nov. 11,
      2019), ECF No. 21-17 (hereinafter “Lott Declaration”), at 3 (emphasis added).
 20         22
                 Ibid. at 3-10.
 21         23
                 Ibid. at 10-15.
 22         24
               Throughout his declaration, Lott expresses a variety of personal opinions,
 23   including his views on constitutional law. For purposes of this declaration, I will
      limit my rebuttal to Lott’s empirical claims and evaluate the mass public shootings
 24   considered by Lott and compiled by his organization, the Crime Prevention
 25   Research Center. For reasons unknown, Lott limits his analysis to mass public
      shootings since 1998. As such, my rebuttal analysis of empirical data uses the same
 26   starting date: 1998.
 27         25
              Jon Wiener, Historians in Trouble: Plagiarism, Fraud, and Politics in the
 28   Ivory Tower (2007) (relevant chapter attached as Exhibit C).
                                                    19
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  1   is “junk science.”26 Lott’s declaration in the present case suffers from similar
  2   problems.
  3         24.      To begin with, Lott’s claim that shooters do not purchase their
  4   firearms legally is patently false. The 2016 U.S. Bureau of Justice Statistics Survey
  5   of Prison Inmates (SPI) that Lott cites in his declaration indicates that some
  6   perpetrators of crime do indeed acquire their firearms through legal means,
  7   including retail purchases.27 But, more to the point, the 2016 SPI does not
  8   disaggregate how prisoners of different age groups obtained their firearms. The
  9   only age-based finding that the 2016 SPI reported was that the 18-24 age
 10   demographic (which includes the 18-20-year-old demographic that is of interest in
 11   the present case), when compared to older age groups, was the age group most
 12   likely to possess a firearm during the commission of their crimes.28 Moreover, this
 13   whole line of reasoning is undermined by the fact that the vast majority of mass
 14   shooters acquire their firearms legally—a fact which Lott acknowledged in his
 15   deposition in Miller v. Bonta.29
 16         25.      Next, Lott asserts that “even if all sources for obtaining firearms were
 17   closed off to people 18-20 years of age, it is unlikely that such laws would stop
 18         26
                Evan DeFilippis & Devin Hughes, Shooting Down the Gun Lobby’s
 19   Favorite ‘Academic’: A Lott of Lies, Armed with Reason, Dec. 1, 2014, available at
      http://www.armedwithreason.com/shooting-down-the-gun-lobbys-favorite-
 20
      academic-a-lott-of-lies (last accessed March 15, 2023); Piers Morgan, Lawyer Alan
 21   Dershowitz on the Research of Author John Lott Jr.: ‘Junk Science … Paid for by
 22
      the National Rifle Association’, CNN.com, July 24, 2012, available at
      http://piersmorgan.blogs.cnn.com/2012/07/24/lawyer-alan-dershowitz-on-the-
 23   research-of-author-john-lott-jr-junk-sciencepaid-for-by-the-national-rifle-
 24
      association (last accessed March 15, 2023).
            27
               See Lott’s references to and reproductions of the 2016 U.S. Bureau of
 25
      Justice Statistics survey. See Lott Declaration, supra note 21, at 3-4, Ex. 2.
 26         28
                 Ibid., Ex. 2 at 131.
 27         29
            Transcript of Deposition of John R. Lott, Jr., Miller v. Bonta, Case No. 19-
 28   CV-1537-BEN-JLB (S.D. Cal. Jan. 22, 2021), at 215-16.
                                                    20
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  1   criminals in that age group from acquiring guns.”30 In support of this claim, Lott
  2   references the murder rate in Mexico, which is completely irrelevant to assessing
  3   the effect of age restrictions on firearm crimes, especially mass shootings, in the
  4   United States.31 Lott offers no evidence related to gun crimes in the United States
  5   perpetrated by 18-20-year-olds, and more specifically to mass shootings in the
  6   United States perpetrated by 18-20-year-olds, to support his assertion. In essence,
  7   Lott’s claim is unsubstantiated and, as such, it is nothing more than speculation.32
  8         26.      Lott also asserts that “age is not a significant factor in mass public
  9   shootings.”33 Specifically, he notes that “of all mass public shootings over the past
 10   21 years, the average age of the shooters is approximately 33.5 years.”34 He adds,
 11   “Thirty-three (33) years of age is also the median age for shooters; therefore, more
 12   than half the shooters were over the age of 30.”35 Based on the mean and median
 13   ages of mass public shooters, Lott concludes that “age is not determinative.”36 This
 14   statement raises the question: of what exactly is age not determinative? If Lott is
 15   claiming that most mass shootings are not committed by shooters aged 18-20, that
 16

 17
            30
               Lott Declaration, supra note 21, at 4. Lott writes that if “all sources were
      closed off,” 18-20-year-olds would still find a way to obtain firearms. Ibid. This is
 18
      logically impossible. I assume Lott meant to argue that if all legal sources were
 19   closed off, 18-20-year-olds would still find a way to obtain firearms. I respond to
      his claim with this assumption in mind.
 20
            31
                 Ibid. at 4-5.
 21         32
               As discussed above in Section IV, there is evidence that runs counter to
 22   this argument.
            33
 23              Lott Declaration, supra note 21, at 5.
            34
 24              Ibid.
            35
 25             Ibid. Lott fails to mention that, according to his own data set, the mode (or
      most frequently occurring) age for mass public shooters is 21. See Table 3 for
 26   Lott’s list of mass public shootings that have been perpetrated in the U.S. since
 27   January 1, 1998.
            36
 28              Lott Declaration, supra note 21, at 5.
                                                    21
                          Declaration of Louis Klarevas (3:19-cv-01226-L-AHG)
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  1   is not in dispute—and I am aware of no scholar or analyst who has ever advanced
  2   the argument that, in absolute terms, the majority of mass shooters are between 18
  3   and 20 years of age. If that is what Lott means by “age is not determinative,” then
  4   his argument is a straw man argument. Regardless, at no point in his discussion of
  5   age groups in this section of his declaration does Lott provide a breakdown that
  6   distinguishes 18-20-year-old mass shooters from other mass shooters.37
  7         27.      When Lott does review empirical evidence specific to acts of violence
  8   committed by the 18-20-year-old age demographic that is the focal point of the
  9   present case, he writes:
 10         [W]hile persons 18-to-20 commit murders at a higher rate
            comparatively, the same can be said of persons 21-to-25, who commit
 11         murders at a higher rate than people in the 26-30 age range. Persons
            36-45 commit crimes at a considerably higher rate than those 46-
 12         50…. The same is true for persons 51-55, who commit crimes at a
            higher rate than do persons over 56. Same for persons 61-to-65—they
 13         commit crimes at a higher rate than do persons  over 65. Similar
            findings were made by other researchers.38
 14

 15   This is arguably one of the strongest acknowledgements in support of California’s
 16   position that legal restrictions on firearm purchases by 18-20-year-old individuals
 17   safeguard the public.
 18         28.      As Lott also acknowledges in his demonstration regarding the race of
 19   mass public shooters, an appropriate and useful way to document the propensity of
 20   a demographic group to commit violence is to compare the share of violent crimes
 21   committed by the subject group to the share of the population for which it
 22

 23

 24
            37
 25            In his section on age as a factor in mass public shootings, Lott asserts that
      he is defining mass public shootings based on “the traditional FBI definition.” Ibid.
 26   at 5, note 3. It is worth noting that there is no official FBI definition of mass
 27   shootings or mass public shootings, nor has there ever been one.
            38
 28              Ibid. at 7.
                                                     22
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  1   accounts.39 This methodology allows for valuable comparisons to the remainder of
  2   the population. Nevertheless, despite having access to data on the age of mass
  3   public shooting perpetrators, Lott only reports the share of mass shooters by race in
  4   relation to the racial distribution of the U.S. population.40 Given that this case
  5   concerns age-based restrictions, it is important to report the share of mass shootings
  6   perpetrated by 18-20-year-olds, in relation to their share of the U.S. population. As
  7   documented in Section III, when such an analysis is performed, it shows that, in
  8   relation to their share of the population, 18-20-year-olds are substantially over-
  9   represented in mass shooting violence.
 10         29.    Lott also advances several additional arguments in his declaration
 11   under an umbrella section titled “Unsupported Justifications for the Age-Based Gun
 12

 13
            39
               Ibid. at 7-9. Interestingly, Lott concludes that “the claim that [mass public]
 14   shooters are overwhelmingly white is misleading.” Ibid. at 7. He reaches this
 15   conclusion because his data demonstrate, “[w]hile white males (excluding those
      from Middle Eastern descent) make up the majority of mass public shoot[ers], that
 16   is 6.4% below their share of the U.S. population.” Ibid. (emphasis added).
 17   However, according to the U.S. Census Bureau, the racial composition of the U.S.
      population breaks down into five categories: White, Black or African American,
 18   American Indian or Alaska Native, Asian, and Native Hawaiian or Other Pacific
 19   Islander. “Middle Eastern descent” is not a separate racial category. The U.S.
      Census Bureau defines a White person as “a person having origins in any of the
 20   original peoples of Europe, the Middle East, or North Africa.” See U.S. Census
 21   Bureau, About the Topic of Race, available at
      https://www.census.gov/topics/population/race/about.html (last accessed March
 22   13, 2023). If the data on the racial composition of mass public shooters that Lott
 23   presents in his declaration are recalculated so that people of “Middle Eastern
      descent” are counted as Whites, it results in a finding that White shooters are
 24   slightly over-represented in terms of the racial demographics of mass public
 25   shooters. Lott Declaration, supra note 21, at 9.
            40
 26             In his declaration, Lott provides a link to a blog post that he authored.
      Ibid. at 8, note 8. That blog post contains a link to the data set maintained by Lott’s
 27   organization, the CPRC, on mass public shootings perpetrated in the U.S. since
 28   1998. Each of the incidents in that data set are coded for the age of each shooter.
                                                  23
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  1   Ban.”41 Some of his arguments are strictly legal conclusions, which I will not
  2   address. But three of his arguments are empirical ones, which warrant discussion.
  3         30.      First, Lott asserts that “California’s age-based gun ban will not result
  4   in less crime.”42 However, he offers no direct evidence in support of this assertion.
  5   In indirect support of this assertion about age-based restrictions, Lott advances the
  6   claim that “every place that has banned guns (either all guns or all handguns) has
  7   seen murder rates go up.”43 To begin with, there are numerous peer-reviewed
  8   studies that counter this claim, including studies of places that Lott himself cites in
  9   his declaration (e.g., Washington D.C.).44 In addition, and more to the point,
 10   outright weapons bans are not the same as age-based restrictions on purchases and
 11   transfers. This apples-to-oranges comparison is tantamount to a red herring logical
 12   fallacy.
 13         31.      Second, in an effort to counter the argument that 18-20-year-olds
 14   exhibit disproportionately higher “impulsive or reckless behavior,” in comparison
 15   to individuals older in age, Lott recommends an examination of the behavior of 18-
 16   20-year-old concealed-carry permit holders.45 In particular, Lott discusses three
 17         41
                 Ibid. at 10-15.
 18         42
                 Ibid. at 11.
 19         43
                 Ibid.
 20         44
                Colin Loftin et al., Effects of Restrictive Licensing of Handguns on
 21   Homicide and Suicide in the District of Columbia, 325 New Eng. J. Med. 1615
      (1991), available at
 22   https://www.nejm.org/doi/full/10.1056/NEJM199112053252305 (last accessed
 23   March 15, 2023); David T. Johnson, The Vanishing Killer: Japan’s Postwar Homicide
      Decline, 9 Soc. Sci. Japan J. 73 (2006), available at
 24   https://www.jstor.org/stable/30209794 (last accessed March 15, 2023); Simon
 25   Chapman et al. Association Between Gun Law Reforms and Intentional Firearm
      Deaths in Australia, 1979-2013, 316 JAMA 291 (2016), available at
 26   https://jamanetwork.com/journals/jama/fullarticle/2530362 (last accessed March
 27   15, 2023).
            45
 28              Lott Declaration, supra note 21, at 12.
                                                    24
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  1   states: Michigan, Nevada, and Texas.46 However, Lott sources and provides raw
  2   data only from Texas, emphasizing data for calendar year 2018.47 An examination
  3   of this data points to a disturbing trend that directly undermines Lott’s argument.
  4   In 2018, 18-20-year-old concealed-carry permit holders in Texas had their permits
  5   revoked at a rate that was nearly 4.5 times the rate at which this age group was
  6   issued concealed-carry permits.48
  7         32.      Third, Lott asserts, “Supporters of California’s age-based gun ban have
  8   stated that mass public shootings carried out at schools are generally committed by
  9   people ‘under 21’”—a purported claim that he dismisses as “misleading and
 10   inaccurate.”49 In support of his position, Lott argues:
 11         Of the 74 people who have committed mass public shootings since
            1998, 10 were under the age of 21. Five were under 18, making them
 12         too young to purchase a gun under already existing law. Further, even
            in the five cases where raising the age limit could conceivably have
 13         made an impact, it is likely that the shooters would have illegally
            obtained the firearm like so many other attackers do.50
 14

 15   Lott is again comparing apples to oranges. The claim he was attempting to
 16   challenge was specific to mass public shootings at K-12 schools. But the block
 17   quote above—which, notably, undercounts the number of mass public shooters
 18

 19

 20         46
                 Ibid. at 12-14.
            47
 21           Ibid. Ex. 7. In his review of 2018 data from Texas, Lott incorrectly
 22
      observes that “0.015%” of concealed-carry permits held by 18-20-year-olds were
      revoked that year. Actually, 1.6% of concealed-carry permits held by 18-20-year-
 23   olds were revoked by the state of Texas in 2018. Ibid. at 12-13, Ex. 7.
            48
 24            Ibid., Ex. 7. According to Texas statistics for 2018, 18-20-year-olds
      accounted for nine one-hundredths of all concealed-carry permits issued, but they
 25
      accounted for forty one-hundredths of all concealed-carry permits revoked. That is
 26   a difference of 4.44 times. Ibid.
            49
 27              Ibid. at 11.
            50
 28              Ibid.
                                                    25
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  1   under the age of 21 in his own data set—addresses all mass public shootings.51
  2   Furthermore, as discussed above in Section III and displayed in Tables 3 and 4,
  3   Lott’s own data show that mass shooters 18-20 years of age, as a group, are
  4   disproportionately over-represented in terms of their demographical share of the
  5   U.S. population, meaning that, on average, they are more likely to commit a mass
  6   public shooting and more likely to kill more victims than the comparator groups of
  7   mass public shooters aged 11-17 and 21-66.
  8         33.      When Lott does turn to school shootings, he writes, “Additionally, if
  9   one separates out school shootings, there were eight K-12 mass public shootings
 10   where at least four people were killed, but only three of those involved killers
 11   between the ages of 18 and 20 (Columbine, 1999; Newtown, 2012; and Parkland,
 12   2018).”52 Again, Lott actually provides empirical support for California’s position,
 13   because his data show that 38% of all mass public shootings at K-12 schools
 14   involved 18-20-year-old shooters. In fact, updating Lott’s data through 2022,
 15   which includes the massacre at Robb Elementary School in Uvalde, Texas, shows
 16   that 40% of all mass public shootings at K-12 schools were perpetrated by an age
 17   demographic that makes up approximately 4% of the entire U.S. population—a ten-
 18   fold difference.53
 19         34.      Finally, Lott’s supposition that “it is likely that the shooters would
 20   have illegally obtained the firearm” if they could not legally obtain a firearm due to
 21

 22         Lott’s own updated data reflect that, from 1998 through 2022, ten—not
            51

      five—mass public shooters were aged 18-20. See Table 3.
 23
            52
                 Lott Declaration, supra note 21, at 11.
 24
            53
               Lott also argues, “There was one of these [K-12 school shootings] on
 25   average every 2.7 years, and before this period, they were much rarer.” Ibid. This
 26   too is a misplaced argument. Legislatures typically address high-impact, low-
      frequency events, ranging from terrorist attacks to building collapses. Whether rare
 27   or not, mass shootings, including those at K-12 schools, are extreme acts of
 28   violence that are often addressed as a threat to public safety.
                                                     26
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  1   an age restriction is pure speculation, offered with no empirical foundation.54
  2   Indeed, as shown in Table 5 above, of the 10 mass public shooters aged 18-20, only
  3   two purchased a firearm in violation of aged-based purchasing restrictions, and
  4   those purchases were made when the gunmen were 17 years old. The remaining 8
  5   mass public shooters legally purchased their firearms, took their firearms from
  6   home, or used a firearm provided by their employer. Moreover, in the last 25 years,
  7   there are no examples of a mass public shooter, aged 18-20 at the time that they
  8   acquired their firearm(s), purchasing said firearm(s) in violation of state age
  9   restrictions.
 10   VI. REBUTTAL TO DECLARATION OF THOMAS B. MARVELL
 11          35.      In his expert declaration, Thomas Marvell (hereinafter “Marvell”)
 12   concludes that “[t]he impact of increasing [the] minimum age to purchase a firearm
 13   from 18 to 21 is difficult to determine because very few states have made such a
 14   change.”55 In reviewing Marvell’s declaration, it is hard not to find this assertion
 15   perplexing. After all, 18 states plus the District of Columbia—which together
 16   account for 36% of all states and 46% of the total current U.S. population—
 17   presently have laws that impose restrictions on individuals 18 to 20 years of age
 18   who might seek to purchase firearms.56 The suggestion that “very few states have
 19
             54
 20               Ibid.
 21           Declaration of Thomas B. Marvell in Support of Plaintiffs’ Motion for
             55

      Preliminary Injunction, Jones v. Bonta, Case No. 19-cv-01226-L-AHG (S.D. Cal.
 22   Nov. 11, 2019), ECF No. 21-5 (hereinafter “Marvell Declaration”), at 3 (emphasis
 23   added).
             56
 24             The states that currently restrict certain firearm purchases by individuals
      aged 18-20 are: California, Connecticut, Delaware, Florida, Hawaii, Illinois, Iowa,
 25   Maryland, Massachusetts, Nebraska, New Jersey, New Mexico, New York, Ohio,
 26   Rhode Island, Vermont, Washington, and Wyoming, as well as the District of
      Columbia. Of these 19 jurisdictions, California, Delaware, Florida, Hawaii,
 27   Illinois, New York, Rhode Island, and Vermont restrict both handgun and long gun
 28                                                                             (continued…)
                                                    27
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  1   made such a change” does not seem to be reflective of the legal reality in the United
  2   States.
  3         36.      Regardless, Marvell was able to offer his views on the issue, including
  4   reviewing studies on aged-based restrictions on firearm purchases. Specifically,
  5   Marvell opined on (1) the nature of time-series-cross-sectional (TSCS) research
  6   design; (2) the literature on the relationship between minimum-age firearm
  7   restrictions and fatal gun violence (i.e., homicide, suicide, and unintentional death);
  8   and (3) the literature on the relationship between minimum-age firearm restrictions
  9   and mass shootings. I address each of these three topics in turn.
 10         37.      While TSCS and similar panel data methodologies are commonly
 11   employed to assess the effect of laws, it is worth noting that there are numerous
 12   methodologies employed in the social sciences and in the medical/public health
 13   fields which are also valuable in informing policy makers as to the impact of laws
 14   on behavioral outcomes (e.g., acts of gun violence). In fact, Marvell concedes this
 15   in his declaration when he observes that some of the studies of Gary Kleck do not
 16   employ TSCS design.57 Just because a study does not employ TSCS design should
 17   not be a basis for discounting the usefulness of that study. Indeed, as discussed
 18

 19   purchases. While Washington does not restrict all long gun purchases, it does
      restrict the purchase of semiautomatic assault rifles in addition to handguns. The
 20   other 10 jurisdictions restrict only handgun purchases. See Giffords Law Center to
 21   Prevent Gun Violence, Minimum Age To Purchase & Possess, available at
      https://giffords.org/lawcenter/gun-laws/policy-areas/who-can-have-a-
 22   gun/minimum-age (last accessed March 15, 2023). According to 2022 U.S. Census
 23   estimates, the 19 jurisdictions have a combined estimated population of
      151,844,088. The entire population of the U.S. (the 50 states plus the District of
 24   Columbia) is estimated to be 333,287,557. As such, the 18 states plus the District
 25   of Columbia account for 46% of the entire U.S. population (151,844,088 ÷
      333,287,557 = 0.4556). U.S. Census Bureau, State Population Totals and
 26   Components of Change: 2020-2022, https://www.census.gov/data/tables/time-
 27   series/demo/popest/2020s-state-total.html (last accessed March 15, 2023).
            57
 28              Marvell Declaration, supra note 55, at 2, 4-5.
                                                    28
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  1   above, analyses employing other methodologies can be valuable in understanding
  2   the relationship between laws and gun violence, including mass shootings.
  3         38.      Marvell devotes most of his declaration to reviewing studies that
  4   address the relationship between minimum-age firearm restrictions and fatal gun
  5   violence. He concludes that “there is no evidence that gun laws banning the
  6   purchase or possession of firearms based on age restrictions have the intended
  7   effect of reducing gun homicides and suicides.”58 This is patently false. There are
  8   studies that have found that age restrictions on firearm purchases have reduced
  9   some forms of gun violence and injury, particularly those acts committed by
 10   individuals under 21 years of age. In fact, Marvell cites several of these studies in
 11   his declaration.59
 12         39.      For instance, the 2015 Gius study found that “[y]outh suicide and
 13   unintentional death rates have declined dramatically since the early 1980s [and] the
 14   most significant declines came after 1994, the year when the Federal minimum age
 15   law took effect,” setting 21 as the minimum age to purchase a handgun from a
 16   federally-licensed firearms dealer.60 Gius concluded that “Federal minimum age
 17   requirements reduce both suicides and unintentional deaths.”61 Similarly, the 2011
 18   Rodriguez Andres and Hempstead study found that “a ban on purchases by minors
 19   affects suicides particularly among younger males.”62 And the 2004 Webster et al.
 20   study found that “[s]tate laws raising the minimum legal purchase age to 21 years
 21   were associated with a 9.0% decline in rates of firearm suicides among youth aged
 22

 23
            58
                 Ibid. at 2 (emphasis added).
 24         59
             See the references to and reproductions of Gius 2015, Rodriguez Andres
 25   and Hempstead 2011, and Webster et al. 2004. Ibid. at 5-7, Exs. 4, 5, 7.
            60
 26              Ibid., Ex. 4 at 55.
            61
 27              Ibid., Ex. 4 at 56.
            62
 28              Ibid., Ex. 5 at 64.
                                                     29
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  1   18 through 20 years.”63 All three peer-reviewed studies offer evidence that age-
  2   based restrictions on firearm purchases are associated with reduced suicides and
  3   unintentional deaths, including among the specific age demographic at issue in this
  4   case: 18-20-year-olds.
  5         40.      Marvell attempts to dismiss studies that provide empirical support for
  6   California’s position on methodological grounds. As an example, Marvell explains
  7   in his declaration that statistical significance entails having a p-value that is less
  8   than or equal to .05.64 But Marvell then discounts the relevant finding of the
  9   Webster et al. study cited in the previous paragraph because it is “barely significant
 10   (at the .04 level, just below the .05 level that indicates significance).”65 First,
 11   despite setting the bar for statistical significance at the .05 level, Marvell “moves
 12   the goalposts” on this study published in the prestigious peer-reviewed Journal of
 13   the American Medical Association (JAMA) in an effort to undermine its findings
 14   (which are directly relevant to the present case). To put what Marvell is asserting
 15   in perspective, it is akin to telling a student who earned an A+ because she scored a
 16   grade of 95—which is the minimum required score for an A+ grade—that she is not
 17   really an A+ student because 95 is just barely an A+. Either a finding is statistically
 18   significant or it is not. And the finding reported by Webster and his colleagues is
 19   statistically significant according to the .05 standard utilized by Marvell. Second,
 20   not every scholar sets the significance bar at the .05 level. Some studies, such as
 21   the Rodriguez Andres and Hempstead study, also report “marginal significance,”
 22   using a p-value that is less than or equal to .10.66 At a minimum, this practice of
 23   using a broader standard merits acknowledgement.
 24

 25         63
                 Ibid., Ex. 7 at 81.
            64
 26              Ibid. at 3.
            65
 27              Ibid. at 7.
            66
 28              Ibid., Ex. 5.
                                                     30
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  1         41.      Marvell’s review of the literature on the relationship between
  2   minimum-age firearm restrictions and fatal gun violence is also plagued by a failure
  3   to provide his criteria for how he identified what he refers to as “the pertinent
  4   publications” on the topic.67 Generally, when reviewing relevant literature, scholars
  5   either cover the entire literature or, alternatively, they exclude certain studies based
  6   on a failure to meet specific inclusionary criteria.68 Marvell does neither. As such,
  7   he has failed to review several studies of direct relevance to this case on the
  8   relationship between minimum-age firearm restrictions and gun violence, some of
  9   which lend support to California’s position.69 This raises important methodological
 10   questions about the reliability of his review of the literature.
 11
            67
 12              Ibid. at 2.
            68
 13            See, for example, the 2020 RAND study cited by Marvell. Ibid. at 8, Ex.
      10. RAND identifies and applies specific criteria for determining which studies to
 14   include in its review.
 15         69
                See Kara E. Rudolph et al., Association Between Connecticut’s Permit-to-
 16
      Purchase Handgun Law and Homicides, 105 Am. J. Pub. Health e49 (2015),
      available at https://ajph.aphapublications.org/doi/pdf/10.2105/AJPH.2015.302703
 17   (last accessed March 15, 2023); Stephanie R. Morain & Cassandra K. Crifasi, Time
 18   to Pull the Trigger? Examining the Ethical Permissibility of Minimum Age
      Restrictions for Gun Ownership and Use, 118 Preventive Medicine 205 (2019),
 19   available at
 20   https://www.sciencedirect.com/science/article/abs/pii/S0091743518303487 (last
      accessed March 15, 2023); Caitlin A. Moe et al., Association of Minimum Age Laws
 21   for Handgun Purchase and Possession with Homicides Perpetrated by Young
 22   Adults Aged 18 to 20 Years, 174 JAMA Pediatrics 1056 (2020), available at
      https://jamanetwork.com/journals/jamapediatrics/article-abstract/2770131 (last
 23   accessed March 15, 2023); Paul S. Nestadt et al., Prevalence of Long Gun Use in
 24   Maryland Firearm Suicides, 7 Injury Epidemiology 4 (2020), available at
      https://injepijournal.biomedcentral.com/track/pdf/10.1186/s40621-019-0230-y.pdf
 25   (last accessed March 15, 2023); Julia Raifman et al., State Handgun Purchase Age
 26   Minimums in the US and Adolescent Suicide Rates: Regression Discontinuity and
      Difference-in-Differences Analyses, 370 BMJ m2436 (2020), available at
 27   https://www.bmj.com/content/bmj/370/bmj.m2436.full.pdf (last accessed March
 28   15, 2023).
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  1         42.      Turning to the reduction of mass shooting violence, which is one of the
  2   primary legislative intents of the law being challenged, Marvell argues that “[m]ass
  3   shootings…are not common enough, in my opinion, to obtain useful research
  4   results concerning whether they are affected by age limits.”70 He then adds that his
  5   opinion “is supported by” a 2019 working paper by Luca et al.71 Specifically,
  6   Marvell writes, “Luca et al. (2019) opine that mass shootings are not frequent
  7   enough to estimate the effects of gun policy on gun deaths.”72 Marvell appears to
  8   have misunderstood the argument advanced by Luca and his colleagues. Their
  9   point addresses the limitations involved in “using mass shootings as an
 10   instrumental variable to further study the impact of gun laws on gun deaths.”73 An
 11   instrumental variable is a third variable that helps explain a correlation between a
 12   treatment and an outcome through its relationship to the treatment under study. In
 13   the quote above taken directly from the Luca et al. paper, the treatment is
 14   represented by gun laws and the outcome is represented by gun deaths. According
 15   to Luca et al., using mass shootings as instrumental variables to understand gun
 16   deaths in general is of limited benefit.
 17

 18
            70
 19             Marvell Declaration, supra note 55, at 9. For more information on the
      California Legislature’s intent to reduce mass shooting violence through restrictions
 20
      on the purchase of firearms by 18-20-year-olds, see the legislative histories of
 21   Senate Bills 1100 (2018) and 61 (2019). See Cal. Legis. Info., Bill Analysis of SB
 22
      1100, available at
      https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=201720180
 23   SB1100 (last accessed March 15, 2023); Cal. Legis. Info., Bill Analysis of SB 61,
 24
      available at
      https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=201920200
 25   SB61 (last accessed March 15, 2023).
            71
 26              Marvell Declaration, supra note 55, at 9.
            72
 27              Ibid. at 9.
            73
 28              Ibid., Ex. 11 at 354 (emphasis added).
                                                     32
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  1         43.      Marvell, on the other hand, appears to be arguing something different.
  2   He suggests that “[m]ass shootings…are not common enough…to obtain useful
  3   research results concerning whether they [i.e., mass shooting incidents] are affected
  4   by age limits.”74 In other words, according to Marvell, mass shootings happen too
  5   infrequently to test whether age-based restrictions on firearm purchases reduce the
  6   incidence of mass shootings (as opposed to gun deaths in general). Interestingly,
  7   the Luca et al. study that Marvell cites indicates that states that imposed firearm
  8   purchase restrictions on 18-20-year-olds appear to have experienced fewer mass
  9   shooting incidents than states that only imposed firearm purchase restrictions on
 10   individuals 17 years old or younger.75 While Luca et al. did not find this
 11   association to be statistically significant, it was nevertheless detected, leaving open
 12   the possibility that, with more comprehensive and more reliable data, our
 13   understanding of this relationship might be improved.76
 14

 15
            74
 16              Ibid. at 9 (emphasis added).
            75
 17              Ibid., Ex. 11 at 381.
            76
 18            One shortcoming with the Luca et al. study is that it relied heavily on FBI
      Supplementary Homicide Reports (“SHR”) and the now discontinued Stanford
 19   Geospatial Center database on Mass Shootings in America for data during the
 20   period under study (1989-2014). Ibid., Ex. 11 at 337-338. SHR data is notoriously
      flawed, with only about 60% of SHR mass murder data considered to be accurate.
 21   Paul Overberg et al., USA Today Research Reveals Flaws in Mass-Killing Data,
 22   USA Today, Dec. 3, 2013, available at
      https://www.usatoday.com/story/news/nation/2013/12/03/fbi-mass-killing-data-
 23   inaccurate/3666953 (last accessed March 15, 2023); Klarevas, Rampage Nation,
 24   supra note 1 at 66. In addition, the Stanford data was skewed, missing many
      incidents that occurred between 1966-2010, in comparison to its far more
 25   comprehensive collection of incidents from 2011-2016. Moreover, while the Luca
 26   et al. working paper was made publicly available in 2019, for reasons unknown, it
      only examined mass shootings that occurred between 1989 and 2014. Had it
 27   covered incidents prior to 1989 and subsequent to 2014, it would have had a
 28   broader data set.
                                                    33
                          Declaration of Louis Klarevas (3:19-cv-01226-L-AHG)
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  1         44.      Marvell seems to be setting up an argument that mass shootings are
  2   too infrequent and result in relatively few fatalities. In fact, in the last paragraph of
  3   his declaration, Marvell states that mass shootings, as defined by the FBI, result in
  4   “fewer than 100” deaths annually.77 Therefore, Marvell appears to be implying that
  5   mass shootings need not be a policy priority.78 Clearly, such an argument reflects a
  6   personal opinion as opposed to a scholarly finding. Nevertheless, suggestions like
  7   this evoke the words of Professor Nate Holdren, who reminds us that a “person of
  8   conscience” should avoid using “a ruler to argue that what they see before them is
  9   in fact a short and not a tall stack of corpses.”79
 10

 11        I declare under penalty of perjury under the laws of the United States of
 12   America that the foregoing is true and correct.
 13        Executed on March 15, 2023, at Nassau County, New York.
 14

 15

 16

 17

 18
                                                                Louis Klarevas
 19

 20
            77
               Marvell Declaration, supra note 55, at 9. Another problem with Marvell’s
      declaration is that he maintains, like Lott does, that there is an official FBI
 21
      definition of mass shootings. He writes, “For clarity, I’m using the same definition
 22   of “mass shooting” as used in Luca, et al. (2019), which also closely matches the
      one used by the Federal Bureau of Investigation.” Ibid. (emphasis added). As
 23
      noted in Section V, there is no official FBI definition of mass shootings, nor has
 24   there ever been one.
            78
 25              As noted above, supra note 53, Lott makes a similar argument.
            79
 26             Nate Holdren, Pandemic Nihilism, Social Murder, and the Banality of Evil,
      Bill of Health (Harvard Law School Blog), September 19, 2022, available at
 27   https://blog.petrieflom.law.harvard.edu/2022/09/19/pandemic-nihilism-social-
 28   murder-and-the-banality-of-evil (last accessed March 15, 2023).
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                         Declaration of Louis Klarevas (3:19-cv-01226-L-AHG)
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  6         B       Figure 1, Mass Shootings Resulting in           22-23
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  7                 History, 1776-2022

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            C       Excerpt, Jon Wiener, Historians in              24-36
  9                 Trouble: Plagiarism, Fraud, and
                    Politics in the Ivory Tower (2007)
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                                    Louis J. Klarevas
                               Email: ljk2149@tc.columbia.edu


 Education

 Ph.D. International Relations, 1999
       School of International Service
       American University
       Washington, DC

 B.A.   Political Science, Cum Laude, 1989
        School of Arts and Sciences
        University of Pennsylvania
        Philadelphia, PA


 Author

 Rampage Nation: Securing America from Mass Shootings


 Current Positions

 Research Professor, Teachers College, Columbia University, New York, NY, 2018-Present

 Faculty Affiliate, Media and Social Change Lab (MASCLab), Teachers College, Columbia
 University, New York, NY, 2019-Present


 Professional Experience

 Academic Experience (Presented in Academic Years)

 Associate Lecturer, Department of Global Affairs, University of Massachusetts – Boston,
 Boston, MA, 2015-2020

 Senior Fulbright Scholar (Security Studies), Department of European and International Studies,
 University of Macedonia, Thessaloniki, Greece, 2011-2012

 Founder and Coordinator, Graduate Transnational Security Program, Center for Global Affairs,
 New York University, New York, NY, 2009-2011

 Faculty Affiliate, A. S. Onassis Program in Hellenic Studies, New York University, New York,
 NY, 2007-2011

 Clinical Faculty, Center for Global Affairs, New York University, New York, NY, 2006-2011

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 Adjunct Professor, Center for Global Affairs, New York University, New York, NY, 2004-2006

 Assistant Professor of Political Science, City University of New York – College of Staten Island,
 Staten Island, NY, 2003-2006

 Associate Fellow, European Institute, London School of Economics and Political Science,
 London, England, UK, 2003-2004

 Defense Analysis Research Fellow, London School of Economics and Political Science, London,
 England, UK, 2002-2004

 Visiting Assistant Professor of Political Science and International Affairs, George Washington
 University, Washington, DC, 1999-2002

 Adjunct Professor of Political Science, George Washington University, Washington, DC, 1998-
 1999

 Adjunct Professor of International Relations, School of International Service, American
 University, Washington, DC, 1994-1995

 Dean’s Scholar, School of International Service, American University, Washington, DC, 1989-
 1992

 Professional Experience (Presented in Calendar Years)

 Consultant, National Joint Terrorism Task Force, Federal Bureau of Investigation, Washington,
 DC, 2015

 Writer, Prometheus Books, Amherst, NY, 2012-2015

 Consultant, United States Institute of Peace, Washington, DC, 2005, 2008-2009

 Research Associate, United States Institute of Peace, Washington, DC, 1992-1998

 Faculty Advisor, National Youth Leadership Forum, Washington, DC, 1992




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 Courses Taught

  Graduate                                              Undergraduate
  Counter-Terrorism and Homeland Security               American Government and Politics
  International Political Economy                       European-Atlantic Relations
  International Politics in a Post-Cold War Era         International Political Economy
  International Security                                International Relations
  Machinery and Politics of American Foreign Policy     Transnational Terrorism
  Role of the United States in World Affairs            United States Foreign Policy
  Security Policy
  Theories of International Politics
  Transnational Security
  Transnational Terrorism
  United States Foreign Policy


 Scholarship

 “State Firearm Laws, Gun Ownership, and K-12 School Shootings: Implications for School
 Safety,” Journal of School Violence, 2022 (co-authored with Paul M. Reeping, Sonali Rajan, et
 al.)

 “The Effect of Large-Capacity Magazine Bans on High-Fatality Mass Shootings, 1990-2017,”
 American Journal of Public Health, November 2019 (co-authored with Andrew Conner and
 David Hemenway)

 “Changes in U.S. Mass Shooting Deaths Associated with the 1994-2004 Federal Assault
 Weapons Ban,” Journal of Trauma and Acute Care Surgery, May 2019 (correspondence)

 Firearms on College Campuses: Research Evidence and Policy Implications, report prepared by
 the Johns Hopkins University Center for Gun Policy and Research for the Association of
 American Universities, October 2016 (co-authored with Daniel W. Webster, John J. Donohue, et
 al.)

 Rampage Nation: Securing America from Mass Shootings, Prometheus Books, 2016

 “No Relief in Sight: Barring Bivens Suits in Torture Cases,” Presidential Studies Quarterly, June
 2013

 Review of James Edward Miller’s The United States and the Making of Modern Greece: History
 and Power, 1950-1974, Presidential Studies Quarterly, June 2012 (book review)

 “Trends in Terrorism Since 9/11,” Georgetown Journal of International Affairs, Winter/Spring
 2011

 “The Death Penalty Should Be Decided Only Under a Specific Guideline,” in Christine Watkins,
 ed., The Ethics of Capital Punishment (Cengage/Gale Publishers, 2011)


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 Saving Lives in the ‘Convoy of Joy’: Lessons for Peace-Keeping from UNPROFOR, United
 States Institute of Peace Case Study, 2009

 “Casualties, Polls and the Iraq War,” International Security, Fall 2006 (correspondence)

 “The CIA Leak Case Indicting Vice President Cheney’s Chief of Staff,” Presidential Studies
 Quarterly, June 2006

 “Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
 Coup,” Diplomatic History, June 2006

 “Greeks Bearing Consensus: An Outline for Increasing Greece’s Soft Power in the West,”
 Mediterranean Quarterly, Summer 2005

 “W Version 2.0: Foreign Policy in the Second Bush Term,” The Fletcher Forum of World
 Affairs, Summer 2005

 “Can You Sue the White House? Opening the Door for Separation of Powers Immunity in
 Cheney v. District Court,” Presidential Studies Quarterly, December 2004

 “Political Realism: A Culprit for the 9/11 Attacks,” Harvard International Review, Fall 2004

 Greeks Bearing Consensus: An Outline for Increasing Greece’s Soft Power in the West, Hellenic
 Observatory Discussion Paper 18, London School of Economics, November 2004

 Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
 Coup, Hellenic Observatory Discussion Paper 15, London School of Economics, February 2004

 “Not a Divorce,” Survival, Winter 2003-2004 (correspondence)

 “Media Impact,” in Mark Rozell, ed., The Media and American Politics: An Introduction
 (Lanham, MD: Rowman & Littlefield, 2003)

 “The Surrender of Alleged War Criminals to International Tribunals: Examining the
 Constitutionality of Extradition via Congressional-Executive Agreement,” UCLA Journal of
 International Law and Foreign Affairs, Fall/Winter 2003

 “The Constitutionality of Congressional-Executive Agreements: Insights from Two Recent
 Cases,” Presidential Studies Quarterly, June 2003

 “The ‘Essential Domino’ of Military Operations: American Public Opinion and the Use of
 Force,” International Studies Perspectives, November 2002

 “The Polls–Trends: The United States Peace Operation in Somalia,” Public Opinion Quarterly,
 Winter 2001



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 American Public Opinion on Peace Operations: The Cases of Somalia, Rwanda, and Haiti,
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 “Turkey’s Right v. Might Dilemma in Cyprus: Reviewing the Implications of Loizidou v.
 Turkey,” Mediterranean Quarterly, Spring 1999

 “An Outline of a Plan Toward a Comprehensive Settlement of the Greek-Turkish Dispute,” in
 Vangelis Calotychos, ed., Cyprus and Its People: Nation, Identity, and Experience in an
 Unimaginable Community, 1955-1997, Boulder, CO: Westview Press, 1998 (co-authored with
 Theodore A. Couloumbis)

 “Prospects for Greek-Turkish Reconciliation in a Changing International Setting,” in Tozun
 Bahcheli, Theodore A. Couloumbis, and Patricia Carley, eds., Greek-Turkish Relations and U.S.
 Foreign Policy: Cyprus, the Aegean, and Regional Stability, Washington, D.C.: U.S. Institute of
 Peace, 1997 (co-authored with Theodore A. Couloumbis) [Reproduced as “Prospects for Greek-
 Turkish Reconciliation in a Changing International Setting,” in Robert L. Pfaltzgraff and
 Dimitris Keridis, eds., Security in Southeastern Europe and the U.S.-Greek–Relationship,
 London: Brassey’s, 1997 (co-authored with Theodore A. Couloumbis)]

 “Structuration Theory in International Relations,” Swords & Ploughshares, Spring 1992


 Commentaries and Correspondence

 “Why Our Response to School Shootings Is All Wrong,” Los Angeles Times, May 25, 2022 (co-
 authored with Sonali Rajan and Charles Branas)

 “COVID-19 Is a Threat to National Security. Let’s Start Treating It as Such,” Just Security,
 August 6, 2020 (co-authored with Colin P. Clarke)

 “If the Assault Weapons Ban ‘Didn’t Work,’ Then Why Does the Evidence Suggest It Saved
 Lives?” Los Angeles Times, March 11, 2018 (correspondence)

 “London and the Mainstreaming of Vehicular Terrorism,” The Atlantic, June 4, 2017 (co-
 authored with Colin P. Clarke)

 “Firearms Have Killed 82 of the 86 Victims of Post-9/11 Domestic Terrorism,” The Trace, June
 30, 2015 [Reproduced as “Almost Every Fatal Terrorist Attack in America since 9/1 Has
 Involved Guns.” Vice, December 4, 2015]

 “International Law and the 2012 Presidential Elections,” Vitoria Institute, March 24, 2012

 “Al Qaeda Without Bin Laden,” CBS News Opinion, May 2, 2011

 “Fuel, But Not the Spark,” Zocalo Public Square, February 16, 2011

 “After Tucson, Emotions Run High,” New York Times, January 12, 2011 (correspondence)


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 “WikiLeaks, the Web, and the Need to Rethink the Espionage Act,” The Atlantic, November 9,
 2010

 “Deprogramming Jihadis,” New York Times Magazine, November 23, 2008 (correspondence)

 “Food: An Issue of National Security,” Forbes (Forbes.com), October 25, 2008

 “An Invaluable Opportunity for Greece To Increase Its Standing and Influence on the World
 Stage,” Kathimerini (Greece), January 13, 2005

 “How Many War Deaths Can We Take?” Newsday, November 7, 2003

 “Down But Not Out,” London School of Economics Iraq War Website, April 2003

 “Four Half-Truths and a War,” American Reporter, April 6, 2003

 “The Greek Bridge between Old and New Europe,” National Herald, February 15-16, 2003

 “Debunking a Widely-Believed Greek Conspiracy Theory,” National Herald, September 21-22,
 2002

 “Debunking of Elaborate Media Conspiracies an Important Trend,” Kathimerini (Greece),
 September 21, 2002 [Not Related to September 21-22, 2002, National Herald Piece with Similar
 Title]

 “Cold Turkey,” Washington Times, March 16, 1998

 “If This Alliance Is to Survive . . .,” Washington Post, January 2, 1998 [Reproduced as “Make
 Greece and Turkey Behave,” International Herald Tribune, January 3, 1998]

 “Defuse Standoff on Cyprus,” Defense News, January 27-February 2, 1997

 “Ukraine Holds Nuclear Edge,” Defense News, August 2-8, 1993


 Commentaries Written for New York Daily News –
 https://www.nydailynews.com/authors/?author=Louis+Klarevas

 “Careful How You Talk about Suicide, Mr. President,” March 25, 2020 (co-authored with Sonali
 Rajan, Charles Branas, and Katherine Keyes)

 “Only as Strong as Our Weakest Gun Laws: The Latest Mass Shooting Makes a Powerful Case
 for Federal Action,” November 8, 2018

 “What to Worry, and not Worry, About: The Thwarted Pipe-Bomb Attacks Point to Homeland
 Security Successes and Vulnerabilities,” October 25, 2018


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 “After the Santa Fe Massacre, Bury the ‘Good Guy with a Gun’ Myth: Armed Staffers Won’t
 Deter Shooters or Keep Kids Safe,” May 22, 2018

 “It’s the Guns (and Ammo), Stupid: Dissuading Killers and Hardening Targets Matter Too, But
 Access to Weapons Matters Most,” February 18, 2018

 “The Texas Shooting Again Reveals Inadequate Mental-Health Help in the U.S. Military,”
 November 7, 2017

 “Why Mass Shootings Are Getting Worse: After Vegas, We Urgently Must Fix Our Laws,”
 October 2, 2017

 “N.Y. Can Lead the Nation in Fighting Child Sex Trafficking,” April 21, 2009 (co-authored with
 Ana Burdsall-Morse)

 “Crack Down on Handguns – They’re a Tool of Terror, Too,” October 25, 2007


 Commentaries Written for The Huffington Post – www.huffingtonpost.com/louis-klarevas

 “Improving the Justice System Following the Deaths of Michael Brown and Eric Garner,”
 December 4, 2014

 “American Greengemony: How the U.S. Can Help Ukraine and the E.U. Break Free from
 Russia’s Energy Stranglehold,” March 6, 2014

 “Guns Don’t Kill People, Dogs Kill People,” October 17, 2013

 “Romney the Liberal Internationalist?” October 23, 2012

 “Romney’s Unrealistic Foreign Policy Vision: National Security Funded by Money Growing
 Trees,” October 10, 2012

 “Do the Wrong Thing: Why Penn State Failed as an Institution,” November 14, 2011

 “Holding Egypt’s Military to Its Pledge of Democratic Reform,” February 11, 2011

 “The Coming Twivolutions? Social Media in the Recent Uprisings in Tunisia and Egypt,”
 January 31, 2011

 “Scholarship Slavery: Does St. John’s ‘Dean of Mean’ Represent a New Face of Human
 Trafficking?” October 6, 2010

 “Misunderstanding Terrorism, Misrepresenting Islam,” September 21, 2010

 “Bombing on the Analysis of the Times Square Bomb Plot,” May 5, 2010


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 “Do the Hutaree Militia Members Pose a Terrorist Threat?” May 4, 2010

 “Addressing Mexico’s Gun Violence One Extradition at a Time,” March 29, 2010

 “Terrorism in Texas: Why the Austin Plane Crash Is an Act of Terror,” February 19, 2010

 “Securing American Primacy by Tackling Climate Change: Toward a National Strategy of
 Greengemony,” December 15, 2009

 “Traffickers Without Borders: A ‘Journey’ into the Life of a Child Victimized by Sex
 Trafficking,” November 17, 2009

 “Beyond a Lingering Doubt: It’s Time for a New Standard on Capital Punishment,” November 9,
 2009

 “It’s the Guns Stupid: Why Handguns Remain One of the Biggest Threats to Homeland
 Security,” November 7, 2009

 “Obama Wins the 2009 Nobel Promise Prize,” October 9, 2009


 Commentaries for Foreign Policy – www.foreignpolicy.com

 “The White House’s Benghazi Problem,” September 20, 2012

 “Greeks Don’t Want a Grexit,” June 14, 2012

 “The Earthquake in Greece,” May 7, 2012

 “The Idiot Jihadist Next Door,” December 1, 2011

 “Locked Up Abroad,” October 4, 2011


 Commentaries for The New Republic – www.tnr.com/users/louis-klarevas

 “What the U.N. Can Do To Stop Getting Attacked by Terrorists,” September 2, 2011

 “Is It Completely Nuts That the British Police Don’t Carry Guns? Maybe Not,” August 13, 2011

 “How Obama Could Have Stayed the Execution of Humberto Leal Garcia,” July 13, 2011

 “After Osama bin Laden: Will His Death Hasten Al Qaeda’s Demise?” May 2, 2011

 “Libya’s Stranger Soldiers: How To Go After Qaddafi’s Mercenaries,” February 28, 2011



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 “Closing the Gap: How To Reform U.S. Gun Laws To Prevent Another Tucson,” January 13,
 2011

 “Easy Target,” June 13, 2010

 “Death Be Not Proud,” October 27, 2003 (correspondence)


 Legal Analyses Written for Writ – writ.news.findlaw.com/contributors.html#klarevas

 “Human Trafficking and the Child Protection Compact Act of 2009,” Writ (FindLaw.com), July
 15, 2009 (co-authored with Christine Buckley)

 “Can the Justice Department Prosecute Reporters Who Publish Leaked Classified Information?
 Interpreting the Espionage Act,” Writ (FindLaw.com), June 9, 2006

 “Will the Precedent Set by the Indictment in a Pentagon Leak Case Spell Trouble for Those Who
 Leaked Valerie Plame's Identity to the Press?” Writ (FindLaw.com), August 15, 2005

 “Jailing Judith Miller: Why the Media Shouldn’t Be So Quick to Defend Her, and Why a
 Number of These Defenses Are Troubling,” Writ (FindLaw.com), July 8, 2005

 “The Supreme Court Dismisses the Controversial Consular Rights Case: A Blessing in Disguise
 for International Law Advocates?” Writ (FindLaw.com), June 6, 2005 (co-authored with Howard
 S. Schiffman)

 “The Decision Dismissing the Lawsuit against Vice President Dick Cheney,” Writ
 (FindLaw.com), May 17, 2005

 “The Supreme Court Considers the Rights of Foreign Citizens Arrested in the United States,”
 Writ (FindLaw.com), March 21, 2005 (co-authored with Howard S. Schiffman)


 Presentations and Addresses

 In addition to the presentations listed below, I have made close to one hundred media
 appearances, book events, and educational presentations (beyond lectures for my own
 classes)

 “Mass Shootings: What We Know, What We Don’t Know, and Why It All Matters,” keynote
 presentation to be delivered at the Columbia University Center for Injury Science and Prevention
 Annual Symposium, virtual meeting, May 2020

 “K-12 School Environmental Responses to Gun Violence: Gaps in the Evidence,” paper
 presented at Society for Advancement of Violence and Injury Research Annual Meeting, virtual
 meeting, April 2020 (co-authored with Sonali Rajan, Joseph Erardi, Justin Heinze, and Charles
 Branas)


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 “Active School Shootings,” Post-Performance Talkback following Presentation of 17 Minutes,
 Barrow Theater, New York, January 29, 2020 (co-delivered with Sonali Rajan)

 “Addressing Mass Shootings in Public Health: Lessons from Security Studies,” Teachers
 College, Columbia University, November 25, 2019

 “Rampage Nation: Securing America from Mass Shootings,” Swarthmore College, October 24,
 2019

 “Rampage Nation: Securing America from Mass Shootings,” University of Pennsylvania,
 February 9, 2018

 “Treating Mass Shootings for What They Really Are: Threats to American Security,”
 Framingham State University, October 26, 2017

 “Book Talk: Rampage Nation,” Teachers College, Columbia University, October 17, 2017

 Participant, Roundtable on Assault Weapons and Large-Capacity Magazines, Annual Conference
 on Second Amendment Litigation and Jurisprudence, Law Center to Prevent Gun Violence,
 October 16, 2017

 “Protecting the Homeland: Tracking Patterns and Trends in Domestic Terrorism,” address
 delivered to the annual meeting of the National Joint Terrorism Task Force, June 2015

 “Sovereign Accountability: Creating a Better World by Going after Bad Political Leaders,”
 address delivered to the Daniel H. Inouye Asia-Pacific Center for Security Studies, November
 2013

 “Game Theory and Political Theater,” address delivered at the School of Drama, State Theater of
 Northern Greece, May 2012

 “Holding Heads of State Accountable for Gross Human Rights Abuses and Acts of Aggression,”
 presentation delivered at the Michael and Kitty Dukakis Center for Public and Humanitarian
 Service, American College of Thessaloniki, May 2012

 Chairperson, Cultural Enrichment Seminar, Fulbright Foundation – Southern Europe, April 2012

 Participant, Roundtable on “Did the Intertubes Topple Hosni?” Zócalo Public Square, February
 2011

 Chairperson, Panel on Democracy and Terrorism, annual meeting of the International Security
 Studies Section of the International Studies Association, October 2010

 “Trends in Terrorism Within the American Homeland Since 9/11,” paper to be presented at the
 annual meeting of the International Security Studies Section of the International Studies
 Association, October 2010


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 Panelist, “In and Of the World,” Panel on Global Affairs in the 21st Century, Center for Global
 Affairs, New York University, March 2010

 Moderator, “Primacy, Perils, and Players: What Does the Future Hold for American Security?”
 Panel of Faculty Symposium on Global Challenges Facing the Obama Administration, Center for
 Global Affairs, New York University, March 2009

 “Europe’s Broken Border: The Problem of Illegal Immigration, Smuggling and Trafficking via
 Greece and the Implications for Western Security,” presentation delivered at the Center for
 Global Affairs, New York University, February 2009

 “The Dangers of Democratization: Implications for Southeast Europe,” address delivered at the
 University of Athens, Athens, Greece, May 2008

 Participant, “U.S. National Intelligence: The Iran National Intelligence Estimate,” Council on
 Foreign Relations, New York, April 2008

 Moderator, First Friday Lunch Series, “Intelligence in the Post-9/11 World: An Off-the-Record
 Conversation with Dr. Joseph Helman (U.S. Senior National Intelligence Service),” Center for
 Global Affairs, New York University, March 2008

 Participant, “U.S. National Intelligence: Progress and Challenges,” Council on Foreign
 Relations, New York, March 2008

 Moderator, First Friday Lunch Series, “Public Diplomacy: The Steel Backbone of America’s
 Soft Power: An Off-the-Record Conversation with Dr. Judith Baroody (U.S. Department of
 State),” Center for Global Affairs, New York University, October 2007

 “The Problems and Challenges of Democratization: Implications for Latin America,”
 presentation delivered at the Argentinean Center for the Study of Strategic and International
 Relations Third Conference on the International Relations of South America (IBERAM III),
 Buenos Aires, Argentina, September 2007

 “The Importance of Higher Education to the Hellenic-American Community,” keynote address
 to the annual Pan-Icarian Youth Convention, New York, May 2007

 Moderator, First Friday Lunch Series, Panel Spotlighting Graduate Theses and Capstone
 Projects, Center for Global Affairs, New York University, April 2007

 Convener, U.S. Department of State Foreign Officials Delegation Working Group on the Kurds
 and Turkey, March 2007

 “Soft Power and International Law in a Globalizing Latin America,” round-table presentation
 delivered at the Argentinean Center for the Study of Strategic and International Relations
 Twelfth Conference of Students and Graduates of International Relations in the Southern Cone
 (CONOSUR XII), Buenos Aires, Argentina, November 2006


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 Moderator, First Friday Lunch Series, “From Berkeley to Baghdad to the Beltway: An Off-the-
 Record Conversation with Dr. Catherine Dale (U.S. Department of Defense),” Center for Global
 Affairs, New York University, November 2006

 Chairperson, Roundtable on Presidential Privilege and Power Reconsidered in a Post-9/11 Era,
 American Political Science Association Annual Meeting, September 2006

 “Constitutional Controversies,” round-table presentation delivered at City University of New
 York-College of Staten Island, September 2005

 “The Future of the Cyprus Conflict,” address to be delivered at City University of New York
 College of Staten Island, April 2005

 “The 2004 Election and the Future of American Foreign Policy,” address delivered at City
 University of New York College of Staten Island, December 2004

 “One Culprit for the 9/11 Attacks: Political Realism,” address delivered at City University of
 New York-College of Staten Island, September 2004

 “Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
 Coup,” address delivered at London School of Economics, November 2003

 “Beware of Europeans Bearing Gifts? Cypriot Accession to the EU and the Prospects for Peace,”
 address delivered at Conference on Mediterranean Stability, Security, and Cooperation, Austrian
 Defense Ministry, Vienna, Austria, October 2003

 Co-Chair, Panel on Ideational and Strategic Aspects of Greek International Relations, London
 School of Economics Symposium on Modern Greece, London, June 2003

 “Greece between Old and New Europe,” address delivered at London School of Economics, June
 2003

 Co-Chair, Panel on International Regimes and Genocide, International Association of Genocide
 Scholars Annual Meeting, Galway, Ireland, June 2003

 “American Cooperation with International Tribunals,” paper presented at the International
 Association of Genocide Scholars Annual Meeting, Galway, Ireland, June 2003

 “Is the Unipolar Moment Fading?” address delivered at London School of Economics, May 2003

 “Cyprus, Turkey, and the European Union,” address delivered at London School of Economics,
 February 2003

 “Bridging the Greek-Turkish Divide,” address delivered at Northwestern University, May 1998

 “The CNN Effect: Fact or Fiction?” address delivered at Catholic University, April 1998


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 “The Current Political Situation in Cyprus,” address delivered at AMIDEAST, July 1997

 “Making the Peace Happen in Cyprus,” presentation delivered at the U.S. Institute of Peace in
 July 1997

 “The CNN Effect: The Impact of the Media during Diplomatic Crises and Complex
 Emergencies,” a series of presentations delivered in Cyprus (including at Ledra Palace), May
 1997

 “Are Policy-Makers Misreading the Public? American Public Opinion on the United Nations,”
 paper presented at the International Studies Association Annual Meeting, Toronto, Canada,
 March 1997 (with Shoon Murray)

 “The Political and Diplomatic Consequences of Greece’s Recent National Elections,”
 presentation delivered at the National Foreign Affairs Training Center, Arlington, VA,
 September 1996

 “Prospects for Greek-Turkish Reconciliation,” presentation delivered at the U.S. Institute of
 Peace Conference on Greek-Turkish Relations, Washington, D.C., June, 1996 (with Theodore A.
 Couloumbis)

 “Greek-Turkish Reconciliation,” paper presented at the Karamanlis Foundation and Fletcher
 School of Diplomacy Joint Conference on The Greek-U.S. Relationship and the Future of
 Southeastern Europe, Washington, D.C., May, 1996 (with Theodore A. Couloumbis)

 “The Path toward Peace in the Eastern Mediterranean and the Balkans in the Post-Cold War
 Era,” paper presented at the International Studies Association Annual Meeting, San Diego, CA,
 March, 1996 (with Theodore A. Couloumbis)

 “Peace Operations: The View from the Public,” paper presented at the International Studies
 Association Annual Meeting, San Diego, CA, March, 1996

 Chairperson, Roundtable on Peace Operations, International Security Section of the International
 Studies Association Annual Meeting, Rosslyn, VA, October, 1995

 “Chaos and Complexity in International Politics: Epistemological Implications,” paper presented
 at the International Studies Association Annual Meeting, Washington, D.C., March, 1994

 “At What Cost? American Mass Public Opinion and the Use of Force Abroad,” paper presented
 at the International Studies Association Annual Meeting, Washington, D.C., March, 1994 (with
 Daniel B. O'Connor)

 “American Mass Public Opinion and the Use of Force Abroad,” presentation delivered at the
 United States Institute of Peace, Washington, D.C., February, 1994 (with Daniel B. O'Connor)




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 “For a Good Cause: American Mass Public Opinion and the Use of Force Abroad,” paper
 presented at the Annual Meeting of the Foreign Policy Analysis/Midwest Section of the
 International Studies Association, Chicago, IL, October, 1993 (with Daniel B. O’Connor)

 “American International Narcotics Control Policy: A Critical Evaluation,” presentation delivered
 at the American University Drug Policy Forum, Washington, D.C., November, 1991

 “American National Security in the Post-Cold War Era: Social Defense, the War on Drugs, and
 the Department of Justice,” paper presented at the Association of Professional Schools of
 International Affairs Conference, Denver, CO, February, 1991


 Referee for Grant Organizations, Peer-Reviewed Journals, and Book Publishers

 National Science Foundation, Division of Social and Economic Sciences

 American Journal of Preventive Medicine

 American Journal of Public Health

 American Political Science Review

 British Medical Journal (BMJ)

 Comparative Political Studies

 Injury Epidemiology

 Journal of Public and International Affairs

 Millennium

 Political Behavior

 Presidential Studies Quarterly

 Victims & Offenders

 Violence and Victims

 Brill Publishers

 Johns Hopkins University Press

 Routledge




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 Service to University, Profession, and Community

 Participant, Minnesota Chiefs of Police Association, Survey of Measures to Reduce Gun
 Violence, 2023

 Member, Regional Gun Violence Research Consortium, Nelson A. Rockefeller Institute of
 Government, State University of New York, 2022-

 Founding Member, Scientific Union for the Reduction of Gun Violence (SURGE), Columbia
 University, 2019-

 Contributing Lecturer, Johns Hopkins University, Massive Open Online Course on Evidence-
 Based Gun Violence Research, Funded by David and Lucile Packard Foundation, 2019

 Member, Group of Gun Violence Experts, New York Times Upshot Survey, 2017

 Member, Guns on Campus Assessment Group, Johns Hopkins University and Association of
 American Universities, 2016

 Member, Fulbright Selection Committee, Fulbright Foundation, Athens, Greece, 2012

 Faculty Advisor, Global Affairs Graduate Society, New York University, 2009-2011

 Founder and Coordinator, Graduate Transnational Security Studies, Center for Global Affairs,
 New York University, 2009-2011

 Organizer, Annual Faculty Symposium, Center for Global Affairs, New York University, 2009

 Member, Faculty Search Committees, Center for Global Affairs, New York University, 2007-
 2009

 Member, Graduate Program Director Search Committee, Center for Global Affairs, New York
 University, 2008-2009

 Developer, Transnational Security Studies, Center for Global Affairs, New York University,
 2007-2009

 Participant, Council on Foreign Relations Special Series on National Intelligence, New York,
 2008

 Member, Graduate Certificate Curriculum Committee, Center for Global Affairs, New York
 University, 2008

 Member, Faculty Affairs Committee, New York University, 2006-2008

 Member, Curriculum Review Committee, Center for Global Affairs, New York University,
 2006-2008


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 Member, Overseas Study Committee, Center for Global Affairs, New York University, 2006-
 2007

 Participant, New York Academic Delegation to Israel, Sponsored by American-Israel Friendship
 League, 2006

 Member, Science, Letters, and Society Curriculum Committee, City University of New York-
 College of Staten Island, 2006

 Member, Graduate Studies Committee, City University of New York-College of Staten Island,
 2005-2006

 Member, Summer Research Grant Selection Committee, City University of New York-College
 of Staten Island, 2005

 Director, College of Staten Island Association, 2004-2005

 Member of Investment Committee, College of Staten Island Association, 2004-2005

 Member of Insurance Committee, College of Staten Island Association, 2004-2005

 Member, International Studies Advisory Committee, City University of New York-College of
 Staten Island, 2004-2006

 Faculty Advisor, Pi Sigma Alpha National Political Science Honor Society, City University of
 New York-College of Staten Island, 2004-2006

 Participant, World on Wednesday Seminar Series, City University of New York-College of
 Staten Island, 2004-2005

 Participant, American Democracy Project, City University of New York-College of Staten
 Island, 2004

 Participant, Philosophy Forum, City University of New York-College of Staten Island, 2004

 Commencement Liaison, City University of New York-College of Staten Island, 2004

 Member of Scholarship Committee, Foundation of Pan-Icarian Brotherhood, 2003-2005, 2009

 Scholarship Chairman, Foundation of Pan-Icarian Brotherhood, 2001-2003

 Faculty Advisor to the Kosmos Hellenic Society, George Washington University, 2001-2002

 Member of University of Pennsylvania’s Alumni Application Screening Committee, 2000-2002

 Participant in U.S. Department of State’s International Speakers Program, 1997


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 Participant in Yale University’s United Nations Project, 1996-1997

 Member of Editorial Advisory Board, Journal of Public and International Affairs, Woodrow
 Wilson School of Public and International Affairs, Princeton University, 1991-1993

 Voting Graduate Student Member, School of International Service Rank and Tenure Committee,
 American University, 1990-1992

 Member of School of International Service Graduate Student Council, American University,
 1990-1992

 Teaching Assistant for the Several Courses (World Politics, Beyond Sovereignty, Between Peace
 and War, Soviet-American Security Relations, and Organizational Theory) at School of
 International Service Graduate Student Council, American University, 1989-1992

 Representative for American University at the Annual Meeting of the Association of
 Professional Schools of International Affairs, Denver, Colorado, 1991


 Expert Witness Service

 Expert for State of Hawaii, National Association for Gun Rights, et al. v. Shikada, United States
 District Court for the District of Hawaii, Case Number 22-cv-00404-DKW-RT, Honolulu, HI,
 2023-

 Expert for State of Hawaii, Abbott v. Lopez, United States District Court for the District of
 Hawaii, Case Number 20-cv-00360-RT, Honolulu, HI, 2023-

 Expert for State of Illinois, Harrel v. Raoul, United States District Court for Southern District of
 Illinois, Case Number 23-cv-141-SPM, East St. Louis, IL, 2023-

 Expert for State of Illinois, Langley v. Kelly, United States District Court for Southern District of
 Illinois, Case Number 23-cv-192-NJR, East St. Louis, IL, 2023-

 Expert for State of Illinois, Barnett v. Raoul, United States District Court for Southern District of
 Illinois, Case Number 23-cv-209-RJD, Benton, IL, 2023-

 Expert for State of Illinois, Federal Firearms Licensees of Illinois v. Pritzker, United States
 District Court for Southern District of Illinois, Case Number 23-cv-215-NJR, East St. Louis, IL,
 2023-

 Expert for State of Illinois, Herrera v. Raoul, United States District Court for Northern District
 of Illinois, Case Number 23-cv-532, Chicago, IL, 2023-

 Expert for State of Oregon, Oregon Firearms Federation, Inc., et al. v. Kotek, et al., United
 States District Court for the District of Oregon, Case Number 22-cv-01815-IM, Portland, OR,
 2023-



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 Expert for State of Oregon, Fitz, et al. v. Rosenblum, et al., United States District Court for the
 District of Oregon, Case Number 22-cv-01859-IM, Portland, OR, 2023-

 Expert for State of Oregon, Eyre, et al. v. Rosenblum, et al., United States District Court for the
 District of Oregon, Case Number 22-cv-01862-IM, Portland, OR, 2023-

 Expert for State of Oregon, Azzopardi, et al. v. Rosenblum, et al., United States District Court for
 the District of Oregon, Case Number 22-cv-01869-IM, Portland, OR, 2023-

 Expert for State of Connecticut, National Association for Gun Rights, et al. v. Lamont, et al.,
 United States District Court for the District of Connecticut, Case Number 22-cv-01118-JBA,
 Hartford, CT, 2023-

 Expert for State of Massachusetts, National Association for Gun Rights and Capen v. Campbell,
 United States District Court for the District of Massachusetts, Case Number 22-cv-11431-FDS,
 Boston, MA, 2023-
 Expert for City of Highland Park, Illinois, National Association for Gun Rights and Goldman v.
 Highland Park, United States District Court for Northern District of Illinois, Case Number 22-
 cv-04774, Chicago, IL, 2022-

 Expert for State of Colorado, Gates, et al. v. Polis, United States District Court for District of
 Colorado, 22-cv-01866-NYW-SKC, Denver, CO, 2022-

 Expert for State of Washington, Brumback and Gimme Guns v. Ferguson, et al., United States
 District Court for Eastern District of Washington, Case Number 22-cv-03093-MKD, Yakima,
 WA, 2022-

 Expert for State of Washington, Sullivan, et al. v. Ferguson, et al., United States District Court
 for Western District of Washington, Case Number, 22-cv-05403-DGE, Seattle, WA, 2022-

 Expert for State of California, Rupp v. Bonta, United States District Court for Eastern District of
 California, Case Number 17-cv-00903-WBS-KJN, Sacramento, CA, 2022-

 Expert for County of Cook, Illinois, Viramontes v. County of Cook, IL, United States District
 Court for Northern District of Illinois, Case Number 21-cv-04595, Chicago, IL, 2022-

 Expert for Government of Canada, Parker and K.K.S. Tactical Supplies Ltd. v. Attorney General
 of Canada, Federal Court, Court File No.: T-569-20, 2021-

 Expert for Government of Canada, Canadian Coalition for Firearm Rights, et al. v. Attorney
 General of Canada, Federal Court, Court File No.: T-577-20, 2021-

 Expert for Government of Canada, Hipwell v. Attorney General of Canada, Federal Court, Court
 File No.: T-581-20, 2021-

 Expert for Government of Canada, Doherty, et al. v. Attorney General of Canada, Federal Court,
 Court File No.: T-677-20, 2021-

 Expert for Government of Canada, Generoux, et al. v. Attorney General of Canada, Federal
 Court, Court File No.: T-735-20, 2021-



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 Expert for Government of Canada, Eichenberg, et al. v. Attorney General of Canada, Federal
 Court, Court File No.: T-905-20, 2021-

 Expert for State of California, Nguyen v. Bonta, United States District Court for Southern
 District of California, Case Number 20-cv-02470-WQH-MDD, San Diego, CA, 2021-

 Expert for State of California, Jones v. Bonta, United States District Court for Southern District
 of California, Case Number 19-cv-01226-L-AHG, San Diego, CA, 2021-

 Expert for State of California, Miller v. Becerra, United States District Court for Southern
 District of California, Case Number 19-cv-1537-BEN-JLB, San Diego, CA, 2019-

 Expert for Plaintiffs, Ward et al. v. Academy Sports + Outdoor, District Court Bexar County,
 Texas, 224th Judicial District, Cause Number 2017CI23341, Bexar County, TX, 2019-2019

 Expert for State of California, Duncan v. Becerra, United States District Court for Southern
 District of California, Case Number 17-cv-1017-BEN-JLB, San Diego, CA, 2017-

 Expert for State of California, Wiese v. Becerra, United States District Court for Eastern District
 of California, Case Number 17-cv-00903-WBS-KJN, Sacramento, CA, 2017-

 Expert for State of Colorado, Rocky Mountain Gun Owners v. Hickenlooper, District Court for
 County and City of Denver, Colorado, Case Number 2013CV33879, Denver, CO, 2016-2017


 Affiliations, Associations, and Organizations (Past and Present)

 Academy of Political Science (APS)

 American Political Science Association (APSA)

 Anderson Society of American University

 Carnegie Council Global Ethics Network

 Columbia University Scientific Union for the Reduction of Gun Violence (SURGE)

 Firearm Safety among Children and Teens (FACTS)

 International Political Science Association (IPSA)

 International Studies Association (ISA)

 New York Screenwriters Collective

 Pan-Icarian Brotherhood



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 Pi Sigma Alpha

 Regional Gun Violence Research Consortium

 Society for Advancement of Violence and Injury Research (SAVIR)

 United States Department of State Alumni Network

 United States Institute of Peace Alumni Association

 University of Pennsylvania Alumni Association


 Grants, Honors, and Awards

 Co-Investigator, A Nationwide Case-Control Study of Firearm Violence Prevention Tactics and
 Policies in K-12 School, National Institutes of Health, 2021-2024 (Branas and Rajan MPIs)

 Senior Fulbright Fellowship, 2012

 Professional Staff Congress Research Grantee, City University of New York, 2004-2005

 Research Assistance Award (Two Times), City University of New York-College of Staten
 Island, 2004

 Summer Research Fellowship, City University of New York-College of Staten Island, 2004

 European Institute Associate Fellowship, London School of Economics, 2003-2004

 Hellenic Observatory Defense Analysis Research Fellowship, London School of Economics,
 2002-2003

 United States Institute of Peace Certificate of Meritorious Service, 1996

 National Science Foundation Dissertation Research Grant, 1995 (declined)

 Alexander George Award for Best Graduate Student Paper, Runner-Up, Foreign Policy Analysis
 Section, International Studies Association, 1994

 Dean’s Scholar Fellowship, School of International Service, American University, 1989-1992

 Graduate Research and Teaching Assistantship, School of International Service, American
 University, 1989-1992

 American Hellenic Educational Progressive Association (AHEPA) College Scholarship, 1986

 Political Science Student of the Year, Wilkes-Barre Area School District, 1986


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                                                                                            JOHN LOTT, GUN RIGHTS, &            RESEARCH      FRAUD       137
                                                                        . •.• .
                                                                         'I '". "': '


                                                                                           Gun control advocates had presented strong evidence that most
                                                                                        guns in the home are used on family members rather than intrud-
                                                                                        ers; Lott needed to refute that argument. His case rests entirely on
                                 8                                                      statistics, and at the beginning of the book, Lott gives readers one
                                                                                        of his strongest statistics: "98 per cent of the time that people use
     John Lott, Gun Rights, and                                                         guns defensively, they merely have to brandish a weapon to break
                                                                                        off an attack. "3 You didn't have co shoot a gun co fend off a crimi-
           Research Fraud                                                               nal; merely displaying it did the trick. That 98 percent was an as-
                                                                                        tounding figure--and one that now seems fraudulent. Yet the
                                                                                        mainstream media, which showed so much dedication to charges
                                                                                        that Michael Bellesiles's research was fraudulent, showed almost no
                                                                                        interest in similar charges against Lott.
                                                                                           The first edition of the Lott book, published in May 1998, gave
                                                                                        the vaguest possible source for the 98 percent figure: "national sur-
                                                                                        veys."4 Lott had given a more specific source in a 'Wall Street journal

T      he book has been called "the bible of the gun lobby": More
       Guns, Less Crime by John R. Lott Jr., published in 1998 by the
prestigious University of Chicago Press. It has sold 100,000 copies
                                                                                        opinion piece published in July 1997: "Other research shows that
                                                                                        guns clearly deter criminals. Polls by the Los Angeles Times, Gallup
                                                                                        and Peter Hart Research Associates show that there are at least
and presents what purports to be statistical evidence showing that                      760,000, and possibly as many as 3.6 million, defensive uses of
states that permit citizens to carry guns have lower crime rates. The                   guns per year. In 98 per cent of the cases, such polls show, people
book has been the key document in persuading states to pass what                         simply brandish the weapon to stop an attack. " That was untrue-
are called "concealed carry" gun laws-laws requiring authorities to                     none of those polls showed what he claimed they did . But he re-
issue a permit co carry concealed weapons to any qualified applicant                    peated that statement in op-ed pieces published in the Chicago
who requests one. Thirty-five states have done so-most recently                         Tribune, the Los Angeles Times, the Chicago Sun-Times, the Dallas
Minnesota, where Lott's arguments provided key ammunition for                            Morning News, and in testimony before the House Judiciary Com-
Republican gun advocates. 1 "Were Lott co be discredited," Chris                         mittee.5
Mooney wrote in Mother Jones, "an entire branch of pro-gun advo-                           Then critics began to question Lott's figure. In the lead was Otis
cacy could lose its chief social scientific basis."2                                     Dudley Duncan, a retired sociologist at the University of California,

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                    HISTORIANS I N      T R OUDJ.I!                                J OHN LOTT, GUN RI G HT S ,      & R ESEA R C H F RA UD       r 39


Santa Barbara, who fi rst raised questions in che January 2000 issue of           preserved in every study, some of chem would usually be
The Criminologist.6 In response co che critics, when che second edition           retained or recoverable. J use co get a representative list of
of Lott's book was published later in 2000, Lott cited a completely               the US p ublic would take consultation with an experienced
different and new source: "a national survey I conducted."7 For three             sampler and probably the purchase of an expensive sample. As
years before this, Lott had never mentioned a national survey he con-             far as I know, there was no cheap commercial list of almost
ducted-he had always said the 98 percent figu re came from other                  every person or household in the United States from which to
people's surveys.                                                                 draw a good sample. 10
   At this point, James Lindg ren, the Northwestern University law
professor who had done an immense amount of work checking                         Bue John Lott bad none of this: no funding , no records of em-
Bellesiles's footnotes, decided to take up the issue after reading cri-        ployees or phone calls, no tally sheets, no consultants, nothing. He
tiques from Duncan and Tim Lambert, director of the Program in                 told Lindgren the phone calls had been made by undergraduate vol-
Computer Science at the University of New South Wales (who now                 unteers who he had not paid . H e said he couldn't remember the
maintains a website devoted to the Lott case). 8 When Lindgren                 names of any of them. He said he had no phone records because the
asked Lott about the national survey Lott claimed co have done,                student volunteers called from their own phones. H e said he reim-
Lott told him chat he lost all the data-on 2,424 people-in a                   bursed them out of his own pocket for the phone calls they m ade,
computer crash.9                                                               but kept no record of his expenses. He didn't have a copy of his sur-
   Lindg ren saw this claim for what it was: "all evidence of a study          vey instrument and didn't remember the wording of the questions.
with 2,400 respondents does not just disappear when a computer                 As for the sample, he cold Lindg ren he drew it off a CD-ROM, but
crashes," he wrote on his website in September 2001.                           he didn't have the CD-ROM and didn't remember where he got it.
                                                                                  In a last-ditch attempt to come up with evidence that the survey
   Having done one large survey (about half the size of John                   had indeed been conducted, Lindgren suggested e-mailing all former
   Lott's) and several smaller surveys, I can attest that it is an             students who mig ht have worked on ic--studenrs at the University
   enormous undertaking. Typically, there is funding, employees                of Chicago in the classes of 1997 and 1998-to see if any remem -
   who did the survey, financial records on the employees, finan-               bered it, because "getting 2,424 respondents with refusals and call-
   cial records on the mailing or telephoning, the survey instru-               backs would have required thousands and thousands of phone calls.
   ment, completed surveys or tally sheets, a list of everyone in               Students would have had to spend many hours calling, which they
   the sample, records on who responded and who declined to                     and their friends would well remember." But Lott objected to this ef-
   participate, and so on. While not all of these things might be               fort, Lindgren wrote, raising "serious questions about how complete

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                    H I ST O R I A N S I N   TR O U n r. fi                         JOHN LOTT , GUN RIGHTS, & RESEARCH                 FRAUD        r4r



the University's alumni records are." Ac chat point Lindgren stopped,              right. Rosh has even summoned memories of the classes she
explaining char "my pare in chis affair is essentially done." 11                   cook from Locc a decade ago to illuscrace Lott's probity and
   Lott did provide one piece of direct evidence chat he did che                   academic gifts.
national survey-one person who said he had been telephoned as                         "I have co say chat he was the best professor I ever had,"
pare of ic. That person is David M. Gross, a Minnesota attorney                    Rosh g ushed in one Internet posting.
who is also a former board member of che National Rifle Associa-                     Indeed, Mary Rosh and John Lott agree about nearly
tion and founding director of the Minnesota Gun Owners Civil                       everything.
                                                                                                                                         14
Rig hts Association. 12 It seems extremely unlikely, co put it charita-               Well they should, because Mary Rosh is J ohn Loct.
bly, that he would turn up in a random sample of a few thousand
people out of the 300 million Americans.                                           Lott quickly admitted he was g uilty.
   The conclusion seemed obvious: Lott had never done the national                  What's significant here is that the Washington Post coverage focused
survey. H e was lying. 13                                                       not on scandal around cbe fraudulent statistic chat opens the influen-
                                                                                tial book, but rather on the humorous story of the professor with the
                                                                                 "cyber sock puppet." The report ran not as a news story about fraud-
You might chink chat research fraud in the bible of gun rights owners            ulent gun research or a book story about a dishonest author, but
would be a big story in the American media. But, in fact, it got almost          rather in the Post's "Style" section.
no play. Locc did get fifteen minutes of fame in the mainstream media;              Even the Chronicle of Higher Education story on Lott was head-
however, that coverage focused not on his fraudulent statistics, but             lined "Scholar's most vigorous defender turns out to be himself,
rather on the amusing story of his fictional web persona. The story was          pseudonymously." The story surfaced in the New York Times in a car-
told beautifully by Richard Morin of the Washington Post:                        toon in the Book Review, where Mark Alan Scamaty made fun of
                                                                                 both Lott and Michael Bellesiles, starting with three panels where
   Mary Rosh chinks the world of John R . Lott Jr., the contro-                  Bellesiles says (in Stamacy's words), "the data chat backs up my the-
   versial American Enterprise Institute scholar whose book                      sis was destroyed in an office flood! HONEST!" This panel was fol-
   More G11ns, LeJs Crime caused such a stir a few years ago.                    lowed by a slightly smaller one devoted co John Lott saying about
      In postings on Web sites in chis country and abroad, Rosh                  his data "I had it in my computer, but my computer crashed and I
   has tirelessly defended Lott against his harshest critics. He is              lost it. HONEST!" Then came three more panels on Lott's "Mary
   a meticulous researcher, she's repeatedly told those who say                  Rosh" story. 15 That cartoon in the Book Review was the only cover-
   otherwise. H e's nor driven by the ideology of the left or the                age that Lott's research fraud received in the New York Times. (There

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were a few exceptions elsewhere in the media, which deserve credit:              "Academics have confirmed my hard-disk crash," he wrote in his
Timothy Noah writing in Slate, Ron Grossman in the Chicago Tri-               letter to the Washington Post. But no one said he lied about a comp uter
bune, and especially Chris Mooney in MotherJones). 16                         crash; they said he lied about having conducted a massive national
   Lott defended himself in a letter published by the Washington              telephone survey. The same unnamed "academics" are also described
Post in March 2003, where he said he was responding to an article             as having "confirmed . .. discussions that I had back in 1996 and
that "questioned the existence of a 1997 survey chat was used" in             1997 regarding the survey." But when Duncan and Lambert exam-
his book. Of course, he could have p ut it more directly, and without         ined these claims, they found that, while a couple of colleag ues
the passive voice: he could have written, "Critics questioned the             remembered discussing surveys in general with him, they did not
existence of a 1997 survey I claim to have conducted." In his letter,         recall discussi ng in 1997 a survey that Lott told them he himself was
he minim ized the problem : "My discussion of the survey actually             conducting. For example one of Lott's co-authors declared, "John told
involved only one number in one sentence." H ere "the survey"                 me that he had conducted a survey in 1997"-but significantly,
seems co exist. Bue "the bottom line is that I lost data for most of          that's not the same as "John told me in 1997 that he was conducting
my various research projects, as well as the files for my book 'More          a survey."18
Guns, Less Crime,' in a computer crash in July 1997 ." 17 There's a              "There is also verification by a participant io the survey," Lott
significant omission here: Lott does not say he lost the data for the         wrote. But chis "participant" was chat Minnesota attorney, the found-
1997 survey he claims to have conducted-only that he lost the                 ing director of the Minnesota Gun Owners Civil Rig hts Association
data for "most" of his research. And of course the critics by chis            who claimed that, out of 300 million Americans, he received a ran-
time had been asking not only for the data, but the sample, the sur-          dom call from Lott's researchers.
vey instrument, the names of the people who made the calls, the                   Lott then declared in his letter to the Post, "I redid the survey
financial records of the project, the tally sheets, etc.---questions          last year and obtai ned similar results." However, doing a new sur-
Lott knew well.                                                               vey does not establish that he told the truth when he wrote that he
   The letter continued, "With the help of other scholars . . . the           had conducted the "old" survey.
massive data sets using county and scare level crime data were                    He wrote in the Post, "This data set and all the ocher data used in
reconstructed." However, that wasn't the data cited in the 1997                my new book, 'The Bias against Guns,' have also been made avail-
survey. The data whose existence was questioned by critics pur-                able to anyone who requests them at www.johnlotc.org." At that
ported co describe a national telephone survey of gun brandishing,             website, he refers to "my two surveys" and repeats-twice-that
not crime data from counties and states.                                       "unfortunately the original 1997 sample was lost in a computer hard



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disk crash." 19 So the data is not available at the website, as promised               What about the more relevant statistics supporting Lott's argu-
in the Post. Thus, even in Lott's most recent work, he continues co                  ment in More Guns, Less Crime? Lott had presented what he said was
make fraudulent claims about a survey he says he conducted.                          data on gun ownership and crime from all 3,054 U.S. counties from
   On his website, he claims he never attributed the 98 percent fig-                 1977 to 1992, which he said proved that the states with "concealed
ure to polls conducted by others-an attribution cited by his critics                 carry" laws had significantly lower rates of violent crime, especially
as evidence that he never conducted a survey himself. H ere's what                   rape and murder. Concealed handguns, Lott wrote, were "the most
he wrote in several op-eds: "Polls by the Los Angeles Times, Gallup                  cost-effective method of reducing crime thus far analyzed by econ-
and Peter Hart Research Associates show that there are at least                      omists."22 But two scholars writing in thejournal of Legal Studies
760,000, and possibly as many as 3.6 million, defensive uses of                      conclude that small changes in Lott's data and statistical methodol-
guns per year. In 98 percent of the cases, such polls show, people                   ogy produced drastically different results. In particular, if Florida
simply brandish the weapon to stop an attack." At his website, he                    was removed from the analysis, the evidence that concealed
declares chat the phrase "such polls" was "merely referring back to                  weapons reduced murder and rape disappeared completely. 23
this type of polls and not those specific polls. "20 Of course, if there                 New research suggests Lott's thesis in More Grms, Less Crime is
were other such polls, which showed what he claimed they did,                        wrong: "concealed carry" laws do not reduce crime. The most im-
then he should have named and cited those. You could call this dis-                  portant work on the topic appeared in the Stanford Law Review,
cussion of the phrase "such polls" a misunderstanding of the En-                     which drew on more years of data and a slightly different method-
glish language, or you could call it a pathetic attempt at deception.                ology. The authors, Ian Ayres of the Yale Law School and John
   Lott continues to come up with arguments and defenses similar                     Donohue of Stanford Law School, concluded, "No longer can any
co this-when Chris Mooney interviewed him for Mother Jones for                       plausible case be made on statistical grounds that shall-issue laws
a September 2003 piece, Lott sent a blizzard of charts, tables, and                  are likely to reduce crime for all or even most states." They found,
e-mails with ever-shifting data secs and increasingly convoluted                     on the contrary, that "concealed carry" laws might cause crime to
arguments.                                                                           increase. 24
   Lott and his defenders argue that the 98 percent figure is not                        Unlike Bellesiles, Lott is not subject to academic sanction for re-
crucial co the argument in More Guns, Less Crime; it's true that the                 search fraud because he does not currently hold an academic posi-
book contains many other more relevant statistics. Harvard econo-                     tion. Indeed his academic career suggests that scholars don't
mist David Hemenway explained what's wrong with that argu-                            consider his work to merit an academic position. H e has held posi-
ment: one must have "faith in Lott's integrity" in order to accept                    tions briefly at more than half a dozen universities, none of which
the other statistical arguments he makes. 21                               ',    I    decided to keep him. The pattern of his career is revealing: after

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earning a Ph.D. in economics at UCLA, he started ouc with a series            Lott's op-eds with the fraudulent claims: the Wall Street Journal, the
of "visiting assistant professor" jobs at .Texas A&M (1984-86),               Los Angeles Times, the Chicago Sun-Times, and the Dallas Morning News,
Rice, and UCLA's School of Management. Then he got a tenure                   among ochers.
crack assistant professorship at the Wharton School at Penn, where              In contrast, Nexis lists sixty-one news articles that link "Michael
he spent four years (1991-95) but failed to get tenure. He then               Bellesiles" and "fraud. "27
went back co being a visiting assistant professor, chis time at the              The University of Chicago Press website continues to feature the
University of Chicago business school (1994-95). Ac chis point, it            Lott book prominently, with glorious blurbs from Milton Fried-
had been nine years since he started in his first academic job, which         man, the Wall Street Journal, and Bminess Week; the press website
meant he should have qualified for a tenured position somewhere.              contains no hint that the key statistic on page three of the book has
But he didn't. Instead, he was rescued by the Olin Foundation, the            been shown to be fraudulent. 28 In contrast, Vintage decided not to
right-wing organization chat has funded dozens of conservative                publish a second corrected edition of Bellesiles's book.
ideologues on college campuses, 25 and which gave him a four-year                 Lott is not a historian; he was trained as an economise. Bue be-
law and economics fellowship at the University of Chicago law                 cause problems in his work have been compared so often with chat
school, where he wrote More Gum, Less Crime. That got him a posi-             of Bellesiles, it's appropriate to include his work here. Lott is de-
tion at Yale law school-not as a faculty member but as something              fended by some of the same people who attacked Bellesiles, and he's
called "senior research scholar." But things didn't pan out at Yale,          been described by ochers as "the Bellesiles of the right." 29 Several
and he ended up at the American Enterprise Institute in Washing-              writers have argued Lott and Bellesiles committed the same
ton D .C. 26                                                                  offense-research fraud. They make the same argument about
                                                                              Lott's missing study of gun brandishing and Bellesiles's flawed
                                                                              Table 1 about guns in probate records: since each author got one
The key face for our purposes is that the mainstream media ignored            key piece of research wrong, how can we crust the rest of his work?
what should have been a major story about research fraud in the                   Bue the cases are different. There is no credible evidence that
bible of gun rights. A search of the Nexis database for "Lott" and             Lott ever did the national survey he claims to have done. In con-
"fraud" cums up a total of three articles that mention the fact that           trast, Bellesiles did research on the guns listed in probate records;
Lott has been accused of fraud : the Chicago Tribune, the Chronicle of         where his figures were disputed, he returned to the archives in
Higher Education, and the Washington Monthly. (To that list should             question, and in the second edition of his book, published a revised
be added Timothy Noah in Slate.) Notably missing: the New York                 version of the flawed table; he also posted disputed probate docu-
Times, the Washington Post, and the many newspapers that published             ments on his website so that interested people can examine them.

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Locc's website, io contrast, continues to make the claims shown co
have been fraudulent.
   What then explains the difference between the media treatment
of Bellesiles and Lott? And what explains the fate of each? The                                     IV
charges in both cases were equally serious. The venues in which the
debates cook place were equally scholarly. The defense offered by
Bellesiles was considerably more substantive and convincing than                  Othe r Medi a Spect acles
Lott's. The one great difference between the two cases is in the ac-
tions of the gun lobby. They mounted a massive campaign to de-
stroy Bellesiles: to pressure Emory University co fire him, to
demand chat his publisher withdraw the book, and co insist that
Columbia University withdraw the Bancroft Prize. But with Lott,
the gun control lobby didn't mount any public campaign, didn't
exert any pressure, didn't make any demands-d idn't even demand
that the newspapers that published Lott's fraudulent claims publish
corrections. And no newspaper ever published a correction. Lott's
critics were limited to scholars and journalises who restricted their
efforts to che world of scholarly journals and a few news outlets like
Mother Jones and Slate. Gun control advocates remained police and
reasonable, while the gun lobby shouted its demands. 30




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             Charleston. Pearson followed his apology with an argument that "even though                      For a list of the stares with "concealed carry" gun laws, see the website with
             my rranscriprion of the trial document is inaccurate, the accompanying analy-                    the enthusiastic name "Packing.org": www.packing.org/stare/report_basic.
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    differences in his efforts in the cwo cases are striking. He published 122 pages                     pressive: his book, From Italy to San Franci.rco (Stanford Universiry Press, 1982)
    on the Bellesiles case in two journal articles with a total of 436 footnotes . He                    won che Merle Curci Award in Social History for 1984, and he gave the open-
    gave more than a dozen public lectures on the Bellesiles case at universities                        ing address at the 1989 American Italian Historical Association conference in
    and law schools including Yale, Columbia, Chicago, Berkeley, William and                             San Francisco for an exhibit tided "Shattering rhe Stereoeype." The book was
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       He didn't do any of this with his work documenting Lott's deception. It                           htrp://hnn.us/arcicles/1420.hrml (accessed March 13, 2004).
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    his Bellesiles materials are srill proudly reproduced. Indeed the only place                          1991, Al.
    readers can find Lindgren's work on rhe Lott case is rhe website of Tim Lam-                      4. Ibid.; Steve Cannizaro, "Cinel's Lawsuit Updated," New OrleaTlS Times-
    bert ac the University of New South Wales. There Lindgren can be found seat-                          Picay11m, April 15 , 1992, B4.
    ing "I have no research interests in chis subfield and no ideas for further efforts               5. Brian Larkin, "CUNY Acting on Sex Prof," Staten II/and Advance, January 14,
    to get to the bottom of chis inquiry.... This project decraccs from my other                          1992, Al.
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    Compare www.law.nwu.edu/faculry/fulltime/Lindgren/Lindgren.hcml with                                  January 11, 1992, Al.
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    2004).                                                                                             8. Nick Russo, telephone interview with author, October 1993.
29. Clayton Cramer, who devoted immense energies co attacking Bellesiles, de-                          9. "General Universiey Policy Regarding Academic Appoincees: Faculey Conduct
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    htcp://clayconcramer.co m/weblog/2003_10_ 12_archive.htm1# 10660567959                                 Univer1ity of Calif()171ia Academic PerJonneJ Manual (rev. September 1, 1988), 12.
    6614813 (accessed March 27, 2004). For a critique see Lambert, "Cramer's                          10. Leslie Benneccs, "Unholy Alliances," Vanity Fair, December 1991, 224; Jason
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30. For some recent examples of Lott's continuing work, see his characteristic piece                       drm (New York: Doubleday, 1992), 296-97 .
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                                                                                                      14. Richard Gid Powers, telephone interview with author, October 1993.


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